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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


  UNITED STATES OF AMERICA,    .
                               .
           Plaintiff,          .         CR No. 21-0699-01 (JDB)
                               .
      v.                       .
                               .         Washington, D.C.
  JOLY GERMINE,                .         Tuesday, January 30, 2024
                               .         9:44 a.m.
           Defendant.          .
  . . . . . . . . . . . . . . ..         Pages 1646 through 1750



                      TRANSCRIPT OF BENCH TRIAL
                 BEFORE THE HONORABLE JOHN D. BATES
                    UNITED STATES DISTRICT JUDGE


    APPEARANCES:

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                                   U.S. Courthouse, Room 4704-A
                                   333 Constitution Avenue NW
                                   Washington, DC 20001
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                                  *       *        *
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 1                               P R O C E E D I N G S

 2                THE DEPUTY CLERK:      Good morning, Your Honor.         We're on

 3       the record in criminal case 21-699, United States of America

 4       versus Joly Germine.       We have Ms. Regine Duroska-Murray and

 5       Ms. Vophsie Cantave who have been sworn in for the record.

 6           Starting with government counsel, may you please approach

 7       the podium and state your appearance for the record.

 8                MS. PASCHALL:      Good morning, Your Honor.        Kimberly

 9       Paschall for the United States.         I'm here with my colleagues

10       Karen Seifert and Beau Barnes.

11                THE COURT:      Good morning to all of you.

12                MR. ORENBERG:      Good morning, Your Honor.        Allen

13       Orenberg for Mr. Germine, who is present.

14                THE COURT:      Good morning, Mr. Orenberg and Mr. Germine.

15                MS. AMATO:      Good morning, Your Honor.       Elita Amato on

16       behalf of Mr. Germine.

17                THE COURT:      Ms. Amato, good morning.

18           All right.       Are we going to begin today with the resumption

19       of the cross-examination of Mr. St. Louis, Ms. Amato?

20                MS. AMATO:      Yes, Your Honor.     It is our request to

21       do so.

22                THE COURT:      Anything else we need to discuss before

23       we bring him out and put him on the witness stand?

24                MS. AMATO:      Not that I'm aware of.

25                THE COURT:      Marshals, please.
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 1            (Witness enters, resumes the stand.)

 2                THE COURT:      Good morning, Mr. St. Louis.         You've

 3       been brought back today to give some additional testimony.

 4       Not that there was anything wrong with your testimony when

 5       you were here last week, but the lawyers have some further

 6       questions they would like to ask you; and so I've had you

 7       brought back.        And Ms. Amato will begin that questioning,

 8       and Ms. Seifert may have some questions as well.

 9            Ms. Amato.

10             WALDER ST. LOUIS, WITNESS FOR THE DEFENSE, SWORN

11                            CONTINUED CROSS-EXAMINATION

12       BY MS. AMATO:

13       Q.    Good morning.

14       A.    Good morning.

15       Q.    When you testified last week, you told us you had

16       assisted in the purchase of weapons.           Is that correct?

17       A.    Yes.

18       Q.    You testified that you did so because Tunis told you that

19       Yonyon and another guy from the national police had sent her.

20       Correct?

21       A.    Yes.

22       Q.    And is that your testimony today as well?

23       A.    Yes.

24       Q.    Now, you recall back when you were arrested on October

25       31, 2021, you were interviewed by law enforcement.               Correct?




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 1       A.     Yes.

 2       Q.     And you told them that you were telling them the truth,

 3       and you said that Tunis never said Yonyon's name.             Correct?

 4                 MS. SEIFERT:   Your Honor, I'm going to object to this

 5       line of impeachment.      She's already gotten the statement.        She

 6       doesn't need to ask him if he recalls what he said.             She can

 7       just introduce the statement at this point.           Asking the

 8       witness to recall something from two and a half years ago that

 9       he hasn't reviewed seems unnecessary.

10                 MS. AMATO:   If that's the way she wants me to do it.

11       I can certainly play it if that's the way she wants me to do

12       it.    I was going to line it up.

13                 MS. SEIFERT:   Well, if she's refreshing recollection.

14                 MS. AMATO:   I'm not refreshing recollection,

15       Your Honor.

16                 MS. SEIFERT:   Then she should just move to the

17       impeachment.

18                 THE COURT:   Let's do that.

19                 MS. AMATO:   That's fine.

20             So the impeachment, I would mark into evidence Defense

21       Exhibit No. 11.      Actually, I'm going to mark Defense Exhibit

22       11.    It is -- on the transcript it's page 47.          In the

23       recording it's folder 1.

24                 THE COURT:   I'm sorry, it's what?

25                 MS. AMATO:   In terms of the recording, and I will




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 1       prepare a clip, but for now for purposes of identification and

 2       for the record, it's folder 1, track 3, at 11:51:46 is what it

 3       reads on the video.

 4                THE COURT:    Are you moving it into evidence?

 5                MS. AMATO:    Yes, Your Honor.      But I realized I did not

 6       put the volume on.

 7                THE COURT:    How long a clip is it?

 8                MS. AMATO:    Very short.

 9                THE COURT:    All right.

10            Defense has moved Defense Exhibit 11, which is this

11       recording --

12                MS. SEIFERT:    Can counsel provide the numbers of the

13       lines?

14                THE COURT:    On the transcript.

15                MS. AMATO:    It's page 47, lines 5 and 6, basically.

16            (Audio played.)

17       BY MS. AMATO:

18       Q.    And that is your voice.       Correct?

19       A.    Yes.   I was being interviewed by the FBI.

20       Q.    All right.     And at that time you told them that she never

21       said Yonyon's name; she said the guns she needed --

22                MS. SEIFERT:    Objection, Your Honor.        It's in evidence.

23                MS. AMATO:    Okay.   Fine.   I'll move on.

24       BY MS. AMATO:

25       Q.    Now, Mr. St. Louis, later in the same interview you




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 1       changed your story.      Correct?

 2                MS. SEIFERT:    Objection.    I'm going to object to

 3       counsel asking him about a characterization of interviews from

 4       two and a half years ago.      She should ask what his testimony

 5       is today and then she can confront him with prior inconsistent

 6       statements that she's impeaching on.

 7                MS. AMATO:    That's fine.    I have no problems.

 8                THE COURT:    Go ahead.

 9       BY MS. AMATO:

10       Q.    And, sir --

11                THE COURT:    And by the way, on Exhibit 11, with what

12       was going on between you, you moved the admission of it into

13       evidence and the government did or did not object?

14                MS. SEIFERT:    No objection, Your Honor.

15                THE COURT:    It's admitted.

16                                     (Defendant Exhibit No. 11

17                                      received into evidence.)

18                MS. AMATO:    All right.    And I'm just marking down the

19       point at which I stopped, which was at 11:51:59.             Court's

20       indulgence.

21       BY MS. AMATO:

22       Q.    And now I'm going to proceed to -- it's page 117 of the

23       transcript.

24                THE COURT:    I thought first you were going to get him

25       to testify and then you would perhaps do something with part




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 1       of the transcript.

 2                MS. AMATO:     All right.

 3       BY MS. AMATO:

 4       Q.    And sir, you told us -- you did not tell us, you don't

 5       agree that you bought those weapons for yourself, today as you

 6       testify, correct?      As you sit here today, you're not saying

 7       you bought these weapons for yourself.           Correct?

 8       A.    The weapons were not for me.        They were for Tunis, Yonyon

 9       and Lanmo.

10       Q.    But when you spoke with Tunis, she told you that the

11       weapons they would buy for you and that she would keep them at

12       her house.

13       A.    For me?   No.

14       Q.    All right.

15                MS. AMATO:     Moving to the second clip, Your Honor.

16       Transcript page 117, folder 2, track 4.

17                MS. SEIFERT:     Could counsel provide the line on the

18       transcript?

19                THE COURT:     Don't play it yet.

20                MS. AMATO:     I'm sorry.    When I pull it up, it just

21       automatically goes.       That's all.    I'm not even at the point.

22       So it is going to be at 5 -- excuse me.           Let me get to it.

23            So it is at 13:49:00.      This is -- I'm marking and moving

24       into evidence Exhibit 12.

25                THE COURT:     You're not moving it into evidence yet.




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 1                 MS. AMATO:     Okay.

 2                 THE COURT:     13:49?

 3                 MS. AMATO:     Yes.    13:49 in folder 2, track 3.

 4                 THE COURT:     You said 4 earlier, now you're changing it

 5       to 3?

 6                 MS. AMATO:     I'm sorry, Your Honor.          Did I say 4?    It

 7       is 4.    Excuse me.     Track 4.

 8                 THE COURT:     All right.     And the transcript, page 117,

 9       lines?

10                 MS. AMATO:     Page 117.     So basically it's 17 through 20.

11       That's the specific portion.

12                 THE COURT:     Lines 17 through 20?           Page 117, lines 17

13       through 20.

14                 MS. AMATO:     Correct.

15                 THE COURT:     I just want the government to be able to

16       look at it so if the government thinks this is not

17       inconsistent, they'll be able to react.

18            All right.      Proceed.

19                 MS. AMATO:     Thank you.

20            (Audio played.)

21       BY MS. AMATO:

22       Q.      And that clip ends at 13:50:19.

23               And Mr. St. Louis --

24                 THE COURT:     Now you wish to move that into evidence?

25                 MS. AMATO:     Yes, I'm sorry.      Yes.      Thank you, Your




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 1       Honor.

 2                MS. SEIFERT:     Objection, Your Honor.

 3                MS. AMATO:    I would move Exhibit 12 into evidence.

 4                MS. SEIFERT:     I object; it's not an inconsistent

 5       statement.     Counsel asked the witness:        Did you buy the

 6       weapons for yourself?      The witness stated I bought them for

 7       Tunis and Lanmo.      Counsel asked the witness:        Isn't your

 8       testimony today that the weapons were for you and would be

 9       stored at her house?      Witness answered no.

10            What she admitted says that Ms. Tunis called -- he stated

11       in the interview Ms. Tunis called him and she said I'm buying

12       the guns for you, the guns are going to be for you and I'm

13       keeping them at my house.       That's what she says.        That's not

14       inconsistent with what he said on the stand today.

15                THE COURT:    I agree it is not inconsistent.          Because

16       the second recording is what Ms. Tunis said.            So there's no

17       inconsistency, so I don't think it's admissible as

18       impeachment.

19                MS. AMATO:    All right.

20       BY MS. AMATO:

21       Q.    Mr. St. Louis, you told us that Tunis said to you -- is

22       it your testimony today that Tunis told you that she wanted

23       you to buy the guns to give them to her?

24       A.    When I bought the weapon, Tunis took them from me and

25       then after that I went and got them and took them to my house.




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 1       Q.     And that's not my question, sir.          My question to you is

 2       when Ms. Tunis asked you to buy the weapons, she told you you

 3       were buying them to give them to her, that they were not for

 4       you.

 5       A.     Of course, yes.    The weapons were not mine.          They were

 6       Yonyon's.

 7       Q.     And that's what she told you, that she told you that the

 8       weapons were not for you.

 9       A.     Yes.   She told me the weapons were not mine.

10                MS. AMATO:    So, Your Honor, at this time I would move

11       Defense Exhibit 12 into evidence.

12                MS. SEIFERT:     I'm still going to object.          The interview

13       from October 31 has numerous statements from Ms. Tunis, that

14       go throughout 2020 to 2021.         Counsel has not elicited whether

15       the statement, which is apparently made in October of 2021, is

16       a statement that he recalls Ms. Tunis making.             And this broad

17       swath of all statements that Ms. Tunis said ever, which is the

18       way the question is phrased, I don't think is inconsistent

19       with what has been elicited.

20                THE COURT:    I think ultimately -- we don't have a jury,

21       and I think, ultimately, that goes to the weight of the

22       evidence, and I will go ahead and admit Exhibit 12, which is

23       this recording that has just been played.

24                                     (Defendant Exhibit No. 12

25                                      received into evidence.)




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 1       BY MS. AMATO:

 2       Q.    Now, St. Louis, you testified that you knew when you

 3       bought the weapons before Ms. Tunis had been stopped by law

 4       enforcement, that you knew the story behind what was going to

 5       happen with these weapons and where they were going to go.

 6       Correct?

 7       A.    Before Tunis was arrested, the guns had already been

 8       stored at her sister's house.

 9       Q.    That's not what I asked you, sir.          I asked you that,

10       before she got in trouble, you knew what was going on with the

11       weapons.    You knew the purpose was -- as to what you told us

12       when you testified here was to buy them for her, correct, and

13       then to send down to Haiti?

14       A.    I never sent weapons in Haiti.         Tunis sent weapons to

15       Haiti.

16       Q.    Okay.    Again, my question to you is, when you testified

17       here last week, you told us that you knew what was going to

18       happen with those weapons prior to Tunis getting in trouble.

19       A.    Well, I don't believe I said that because before she got

20       in trouble, Tunis told me that the game has changed and --

21       everything has changed.

22       Q.    And so you're saying now that you didn't know at all the

23       purpose of those weapons when you bought them.             Correct?

24                THE COURT:    That's too vague a question.          It doesn't

25       make any sense.




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 1                 MS. AMATO:    All right.     I'll move on, Your Honor.

 2                 THE COURT:    The purpose of the guns?

 3                 MS. AMATO:    Yes.

 4                 THE COURT:    The purpose of the guns is to shoot.

 5                 MS. AMATO:    I'll move on.      Could be, you're right.

 6       BY MS. AMATO:

 7       Q.     When you testified on Thursday, you told us that Tunis

 8       had said to you that the guns were going down to Haiti.

 9       Correct?

10       A.     Yes.   That's correct.       She told me the guns were going

11       to 400 Mawozo and Koleg.

12       Q.     And is that still your testimony today?

13       A.     Yes.

14                 MS. AMATO:    All right.     I'd like to mark Defense

15       Exhibit 13, page 125 of the transcript.                It's folder 2.

16       This is track 4.       Oh, excuse me.      Strike that, Your Honor.

17            It's folder 2, track 1; transcript page 78 -- it's actually

18       79, Your Honor, on my transcript.           It's 79 --

19                 THE COURT:    I'm making a mess of my exhibit list,

20       Ms. Amato.

21                 MS. AMATO:    I'm sorry, Your Honor.           I mean it starts

22       at 78, but really the point is on 79, and it's specifically at

23       lines 5 and 6.

24                 THE COURT:    Lines 5 and 6?

25                 MS. AMATO:    Correct.




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 1                THE COURT:     So you said folder 2, track 1.          Do you

 2       have a time?

 3                MS. AMATO:     I do.    It's 18:00 -- I'm sorry.        Court's

 4       indulgence.     I will let the Court know in a second, couple

 5       seconds.

 6           So it's at 12:41:19.

 7                THE COURT:     12:41:19?

 8                MS. AMATO:     Yes.

 9           (Audio played.)

10                MS. AMATO:     Your Honor, at this time I would move into

11       evidence -- and it stops at 12:41:57 -- Defense Exhibit 13.

12                MS. SEIFERT:     Your Honor, again I'm going to object

13       because there's no reference as to the time when the statement

14       was made versus the question.         I understand Your Honor's prior

15       ruling that it goes to weight, but I'll make that objection.

16                THE COURT:     I'm going to deal with each one

17       independently.       So the objection is that there's no reference

18       to the time.

19                MS. SEIFERT:     So the question from counsel was:

20       Tunis had said the guns were going to Haiti.             Is that your

21       testimony.     The witness said yes, the guns were going to 400

22       Mawozo and Koleg.       Again, this statement is replete with what

23       did Ms. Tunis tell you, and it's not clear from counsel's

24       questions when she's alleging Ms. Tunis did or did not tell the

25       witness, you know, whatever she told him.




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 1            And on his examination he stated that he had been talking to

 2       Ms. Tunis since August of 2020, and he clarified that in August

 3       of 2020 she said one thing and then the conversations continued.

 4       So there's no temporal reference in any of this.              So that's our

 5       objection.

 6                 THE COURT:   And I think the temporal reference is a

 7       problem, but I think the problem is something that can be

 8       addressed to some extent through redirect, and also goes to

 9       weight more than the admissibility.           So I will admit Defense

10       Exhibit 13.

11                                     (Defendant Exhibit No. 13

12                                      received into evidence.)

13       BY MS. AMATO:

14       Q.      Sir, when you spoke with law enforcement, again, it was

15       on October 31, 2021.      Correct?

16       A.      Yes.   It was a Sunday.

17       Q.      And at that point, you had already purchased the weapons.

18       Correct?

19       A.      Yes.   I had already purchased the weapons and took them

20       home.

21       Q.      And it is your testimony today that when you agreed to

22       purchase the weapons, you knew that Yonyon -- excuse me.               You

23       told us that Tunis informed you that the weapons were going to

24       Yonyon and this other person that you mentioned.              Correct?

25       A.      Yes.




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 1       Q.    And you never told us that she tricked you, that Tunis

 2       tricked you.     Correct?

 3       A.    Well, when she went to my home, she told me this person

 4       sent me.

 5       Q.    Right.    And she never tricked you and told you that she

 6       wasn't going to do anything with those weapons.             She never

 7       told you that she was not going to do anything with those

 8       weapons.    Correct?

 9                THE COURT:    She never told you that she was not going

10       to do anything with those weapons.         If the witness understands

11       the question, he can answer it.

12                MS. AMATO:    Let me rephrase it.

13       BY MS. AMATO:

14       Q.    Ms. Tunis told you -- when she asked you to buy the

15       weapons and you bought the weapons, she told you that she

16       wasn't going to do anything with those weapons.

17       A.    I remember she told me something having to do with the

18       elections.

19       Q.    All right.     And so when you finally accepted to buy the

20       weapons, it's your testimony that you did so because she told

21       you the weapons were going to be used for the -- something to

22       do with the elections.

23                MS. SEIFERT:     Objection.    Misstates testimony.

24                THE COURT:    You are expanding what he just said.

25                MS. AMATO:    I'll be happy to rephrase.         I'll just




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 1       ask another question.

 2       BY MS. AMATO:

 3       Q.      When you finally accepted to buy the weapons, is it your

 4       testimony today that Tunis told you she needed those weapons

 5       for something to do with the elections in Haiti?

 6       A.      Yes.   After that she was going to send someone to kill

 7       my family.     As a matter of fact, the mother of my child jumped

 8       over a wall and she injured her leg and her leg was torn.

 9                 MS. AMATO:   Your Honor, I'd strike the answer.

10       That's not responsive to the question.

11                 THE COURT:   Ms. Seifert.

12                 MS. SEIFERT:    Counsel asked, when you finally accepted

13       to buy the weapons, which I think goes to why he accepted.

14                 THE COURT:   I will not strike it.

15                 MS. AMATO:   Okay.

16       BY MS. AMATO:

17       Q.      So that's your answer today as to why you finally

18       accepted to buy the weapons?

19       A.      Yes.   Because she was going to kill my family.          She told

20       me Yonyon, Lanmo and Koleg sent her.

21                 MS. AMATO:   Your Honor, I'd like to mark Exhibit 14 now

22       for the defense, and it's in the transcript -- I'll get to

23       it --

24                 THE COURT:   Is there a transcript that both sides have

25       that the Court doesn't have?




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 1                MS. SEIFERT:     Yes, Your Honor.       Would you like a copy

 2       from the government?

 3                THE COURT:    Well, it sure makes it easier when I'm

 4       dealing with objections rather than --

 5                MS. SEIFERT:     I'm sorry.    I thought defense had

 6       provided it to you.

 7                THE COURT:    -- rather than trying to remember what

 8       I couldn't hear on the audio anyway.

 9           (Transcript tendered to the Court.)

10           Thank you.

11                MS. AMATO:    Okay.    So, Your Honor, it's page 119, lines

12       18 through 21.

13                THE COURT:    And on the audio?

14                MS. AMATO:    Court's indulgence.       It's folder 2.

15       Folder 2, track 4.      And again, Your Honor, it's going to start

16       up when I open the --

17                THE COURT:    Is that the only time you'll be able to get

18       the time?

19                MS. AMATO:    No.   It just opens up automatically so

20       you're going to hear something which has nothing to do with

21       what I'm going to play.

22                THE COURT:    That's okay.     We can wait.

23                MS. AMATO:    I'm going to get to the part.          It should

24       be at -- oh, wait.      Okay.   It's 13:01:29.

25                THE COURT:    All right.




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 1           (Audio played.)

 2                MS. AMATO:      Your Honor, excuse me.        I want to start it

 3       again.

 4           (Audio played.)

 5           Excuse me, Your Honor.         I realized I was playing the wrong

 6       track.    It is track 4 of folder 2, but I was playing a

 7       different one.

 8           Okay.    Your Honor, so the register is 14:01:24.

 9                THE COURT:      14:01:24.

10                MS. AMATO:      Folder 2, track 4.         I'm going to play it.

11           (Audio played.)

12                THE COURT:      "In October"?      I don't see "in October"

13       anywhere on the transcript I'm looking at.

14                MS. AMATO:      Me neither, Your Honor, and I'm not sure

15       why.

16           Okay.    Last try.    Counter is 13:54:24.

17                THE COURT:      This is still Exhibit 14.

18                MS. AMATO:      Yes.

19                THE COURT:      13:54:24.

20                MS. AMATO:      Right.    Folder 2, track 4.

21           (Audio played.)

22                MS. AMATO:      All right.     So, Your Honor, at this time I

23       would move into evidence Exhibit 14.

24                THE COURT:      Which is the transcript page 119, lines 18

25       to 21.




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 1                MS. AMATO:    Well, it's the recording.         I mean, I'm

 2       using the recording.

 3                THE COURT:    The recording, but it's reflecting what's

 4       at the transcript page 119, lines 18 to 21.

 5                MS. AMATO:    Correct.     And I think I cut off the

 6       question.    So I can try to get that in so we can hear actually

 7       line 18.    Okay.

 8           (Audio played.)

 9                MS. AMATO:    I hope the Court heard the question this

10       time.

11                THE COURT:    I heard the question then.

12                MS. AMATO:    I have no further questions at this point,

13       Your Honor, in terms of --

14                THE COURT:    All right.    You've moved in Exhibit 14,

15       which is the audio recording of the interview beginning --

16       in folder 2, track 4, beginning at 13:54:24.

17                MS. AMATO:    Correct.     And ending -- let me make sure

18       I've got the right...

19           It should be about three seconds.          Let me just play it one

20       more time.

21           (Audio played.)

22           It ends at 13:54:39.

23                THE COURT:    39?

24                MS. AMATO:    39.

25                THE COURT:    The defense has moved Exhibit 14.




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 1                MS. SEIFERT:     No objection.

 2                THE COURT:    Without objection, 14 is admitted.

 3                                     (Defendant Exhibit No. 14

 4                                      received into evidence.)

 5                MS. AMATO:    So those are the specific areas that I

 6       wanted to bring up today.       Thank you.

 7                THE COURT:    All right.    Thank you, Ms. Amato.

 8           Ms. Seifert.

 9                MS. SEIFERT:     Your Honor, I'm going to ask if we could

10       take the morning break a little bit early so I can organize

11       the clips that we want to play.        And I think it will be much

12       more efficient if I can do that during the pass, and we can

13       get Mr. St. Louis out of here more quickly.

14                THE COURT:    How can I possibly say no if you're

15       assuring me it's going to be more efficient?

16                MS. SEIFERT:     Well, again, I did ask in advance, but

17       this is the first time hearing these clips.

18                THE COURT:    We'll take a break now.        And we'll figure

19       that this is going to be the only morning break, so we'll go

20       ahead and start again by that clock at 20 of.

21                MS. SEIFERT:     Thank you.

22                THE COURT:    Thank you.

23           (Recess from 10:27 a.m. to 10:45 a.m.)

24                THE COURT:    All right.    Ms. Seifert, are we ready?

25                MS. SEIFERT:     One moment, Your Honor.




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 1                THE COURT:    Certainly.

 2            Mr. St. Louis, I remind you you're still under oath.

 3                THE WITNESS:     Yes.

 4                              REDIRECT EXAMINATION

 5       BY MS. SEIFERT:

 6       Q.    Good morning, Mr. St. Louis.

 7       A.    Yeah.

 8       Q.    On cross-examination, you were asked questions about

 9       whether before you got in trouble you didn't know who the

10       weapons were going to.      Do you recall being asked those

11       questions?

12       A.    I know where they were going.

13       Q.    Yes.    But Ms. Amato asked you about that in her

14       cross-examination today.         Correct?

15       A.    When Tunis bought the weapons, she did not tell me the

16       truth.

17       Q.    Okay.    I want to direct you to some statements you made

18       to the FBI on October 31, 2021.         For the record, this is

19       Government's Exhibit 1200, which is the transcript of the

20       interview of Walder St. Louis on October 31, 2021.

21             And this transcript, again for the record, is a 182-page

22       document.     The last page of the transcript, which I believe

23       the Court also has a copy of, there's a certificate of the

24       transcriber and at the bottom the transcriber's contact

25       information.




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 1             Mr. St. Louis, I'm reading to you -- is the Court able to

 2       see that?

 3                MS. AMATO:      Page, please.

 4                THE COURT:      The Court can see that but I can't read it

 5       very well.     In the middle it's pretty light.

 6                MS. AMATO:      Your Honor, we don't have a page, please.

 7                THE COURT:      We'll get there in a second.           She can't

 8       read the page number yet.

 9                MS. SEIFERT:      All right.      And counsel, this is page 21,

10       line 21.    The first question is by Special Agent Warren.

11       BY MS. AMATO:

12       Q.    "Question:      What's happening now is dangerous?

13             "Answer:       No, Yonyon is dangerous.

14             "Question:      Yonyon is dangerous?        Yonyon's a dangerous --

15             "Answer:       Very dangerous.     For instance, I cannot go to

16       Haiti right now because Yonyon is going to kill me if I do."

17             Page 22.

18             "Question:      Why is that?

19             "Answer:       He wants me to do some things.

20             "Question:      What does he want you to do?

21             "Answer:       For instance, he wants me to take stock of how

22       many guns there are.       And I say no."

23                MS. AMATO:      Objection.     Beyond the scope.

24                THE COURT:      Go ahead and respond to that.

25                MS. SEIFERT:      Counsel asked questions about what -- and




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 1       impeached him on whether he knew at the time, before he got in

 2       trouble with the FBI, where the weapons were going, and he's

 3       referring to that he knows -- at the beginning of the

 4       interview, on page 21, that they're going to Yonyon because

 5       Yonyon wants him to take stock of the weapons.

 6                MS. AMATO:    Objection.    It's not -- it miscategorizes

 7       the statements in the transcript.         And this --

 8                THE COURT:    This portion of the transcript you just

 9       read, I don't see anything about buying guns.

10                MS. SEIFERT:     "Take stock of the weapons and how many

11       guns there are."

12                THE COURT:    Take stock -- how many guns there are.

13                MS. SEIFERT:     Shows Yonyon's involvement in the

14       counting of the guns.      And the questions posed by defense were

15       whether he knew before he got in trouble where the guns were

16       going.    He stated he knew they were going to Mr. Germine.

17                THE COURT:    I guess it's close enough.         The objection

18       is overruled.

19                MS. SEIFERT:     I would also move to introduce it as a

20       prior consistent statement to rebut recent fabrication under

21       801(d)(1)(B)(i).      It goes to the threat he perceived at the

22       time he made the statement.

23                THE COURT:    Are we going to mark it?         Because you're

24       not moving the admission of the entirety of 1200, are you?

25                MS. SEIFERT:     No.   What I would ask, Your Honor, is at




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 1       the close of my redirect, if I may move the admission of 1200

 2       with only those portions, and I will submit an otherwise

 3       redacted version of the document.

 4                THE COURT:      All right.

 5                MS. SEIFERT:      So I would move admission of those lines

 6       at this time.

 7                THE COURT:      Ms. Amato?

 8                MS. AMATO:      Well, Your Honor, she hasn't played the

 9       portions to the witness for him to acknowledge that that is

10       actually what he said in response.

11                MS. SEIFERT:      I don't think he needs to acknowledge --

12                THE COURT:      Yeah.   I don't think that's a necessity.

13       So that objection is overruled and this portion may be

14       admitted, and we'll clean it up later.

15                                        (Government Exhibit No. 1200A 21

16                                        received into evidence.)

17       BY MS. SEIFERT:

18       Q.    And now I'm on page 35 of the transcript, starting at

19       line 13.

20             "Answer:       She called me.    She told me Yonyon wants to

21       do this and that.       She said because you have a gun license,

22       she told me that if I don't do it, that they'll put me in jail

23       in Haiti if I ever go there.          Because Yonyon has police

24       commissioners and a chief of police working with him.                   The

25       chief of police.




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 1             "Question:      And the chief of police is working with

 2       Yonyon?

 3             "Answer:       Don't, don't say --

 4             "Question:      No, no, no.

 5             "Answer:       Somebody working with the national (indiscernible).

 6             "Question:      Someone high up?

 7             "Answer:       High in rank.    Worked for him.      He builds

 8       houses for them, because don't be fooled, people that work in

 9       the" --

10             Next page, which is 36, line 1 --

11             "-- government in Haiti are deeply involved in those

12       kidnappings."

13             Your Honor, I move to admit Government's Exhibit 1200 at

14       page 35, lines 13 through 25; and page 36, lines 1 and the

15       first word of line 2, as a prior consistent statement both

16       under 801(d)(1)(B)(i) and (ii).

17                 THE COURT:     Prior consistent statement.

18                 MS. SEIFERT:     Correct.

19                 THE COURT:     Ms. Amato?

20                 MS. AMATO:     Yes, Your Honor.      The same objection that

21       I made the last time, that it is over the scope, No. 1.                 And

22       No. 2, I mean she's not even asking the witness if he agrees

23       with what is stated in this transcript.

24                 THE COURT:     The second part I've already ruled on.           The

25       first part, in terms of the scope, Ms. Seifert, this passage




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 1       does not mention -- other than the term "gun license," it does

 2       not mention guns.      It does involve Mr. St. Louis's connection

 3       with Mr. Germine, Yonyon.       But it doesn't talk at all about

 4       the subjects that Ms. Amato was impeaching Mr. St. Louis on,

 5       which is the scope of this redirect examination.

 6             And here's my question:       Do you think that you -- that it's

 7       within the scope for you to put in any part of this transcript

 8       where Mr. St. Louis talks about his connection with or

 9       knowledge of Mr. Germine?

10                 MS. SEIFERT:    Well, let me be clear.         I think any part

11       of the transcript can come in in the government's case as

12       evidence.

13                 THE COURT:   No, no, no.      That's not what I'm talking

14       about.    I'm talking about the scope of this redirect

15       examination, which is very limited.           It's limited to the

16       cross-examination that Ms. Amato just engaged in.

17                 MS. SEIFERT:    So I think it does go to that, Your

18       Honor, because she asked him -- Ms. Amato asked him whether at

19       the time Ms. Tunis came she told him who the guns were going

20       to.    And that's what he's talking about at 35, line 13.              She

21       called me, she told me, Yonyon wants to do this and that.               She

22       said because you have the gun license, she told me that if I

23       don't do it, they'll put me in jail in Haiti.             Because Yonyon

24       has police commissioners and the chief of police working with

25       him.




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 1           I think it directly goes to what she asked him about.

 2                THE COURT:      That's because you think that the first

 3       two lines are clear enough that the "this and that" being

 4       discussed is purchasing the weapons.

 5                MS. SEIFERT:      We can go back, Your Honor, to page 34.

 6       And I'm happy to include all of this.             It just had a lot of

 7       extraneous information.       At page 34, line 24:

 8           Question -- let me put it on the screen.

 9           "Question:       So talk to me.     How did this get started?

10       Start at the beginning."

11           Page 35.

12           "Answer:    (Drinks water.)

13           "Question:       Good water.     Take a deep breath, have a cookie.

14       Drink some cookies."

15           So more talk about the cookies.

16           "Take your time.

17           "Answer:    The way it got started, one day I was sitting at

18       home and someone called me.

19           "Question:       Who was the somebody?

20           "(Points at the picture.)

21           "Answer:    She called me."

22           And then that's what I already read.

23                THE COURT:      The "it" that got started you think is

24       clear enough, and the "this and that" all involve the

25       purchasing of the weapons.           And I think it's clear enough,




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 1       so we'll go ahead and admit it as within the scope.

 2           But I do want you to be cognizant of the fact that I don't

 3       think that anything in the transcript comes in within the

 4       scope of the cross-examination that was just conducted this

 5       morning.

 6                                     (Government Exhibit No. 1200A 35:13-15,

 7                                     36:1-2 received into evidence.)

 8                MS. SEIFERT:     I don't think I have to do any of this

 9       with this witness, Your Honor.        I can put another agent on the

10       stand and make him read the prior --

11                THE COURT:    That's fine, that's fine.         But you are

12       where you are, which is redirecting limited to the scope of

13       the cross-examination we just had this morning.             I know you

14       can do a lot of other things, Ms. Seifert, and put on a lot of

15       other witnesses, but what you're doing right now is redirect

16       examination limited to the scope of Ms. Amato's

17       cross-examination this morning.

18                MS. SEIFERT:     I do want to clarify, Your Honor, because

19       of the issues with the translation in the transcript, when I

20       did my redirect, I didn't bring up any of these prior

21       consistent statements at that time because we were still

22       trying to figure out that issue.         So, again, like I don't --

23       there is I think one thing that I would like to address with

24       the witness that I think is beyond what she asked, but I

25       didn't ask it on Thursday because we were all concerned about




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 1       the quality of the translation, which the defense has now

 2       agreed is fine.       So I'm happy to do that separately.

 3                MS. AMATO:      Your Honor, it was on cross-examination

 4       that the issue came up, and this is the very first time that

 5       I'm hearing -- she was very clear, always asking and making

 6       sure that I was going to be specific as to what Your Honor had

 7       ordered that I could do.        And now she wants to go beyond that.

 8            It's not proper, and I object.          And it's not what Your

 9       Honor permitted me to do with this witness to bring him back

10       just for the impeachment of those particular purposes.                  This

11       came up on cross-examination.          It didn't come up on her direct

12       examination.

13                THE COURT:      If it had been raised last week, I might

14       feel differently, but sitting here today, I've been pretty

15       cognizant of and strict with respect to limiting what Ms. Amato

16       can do based on the ground rules that were set.               And I think

17       that that limitation applies to the redirect as well.                   The

18       redirect is limited to the scope created by this morning's

19       cross-examination by Ms. Amato.

20       BY MS. SEIFERT:

21       Q.    Now, at page 38, line 18.

22             "Question:      More or less.     Okay.    How did Tunis -- how

23       did you know her?

24             "Answer:       That's a good question.        She's the one who

25       showed up and started talking to me.            She went to my house.




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 1       Yonyon sent her to my house."

 2             This is line 18 through 22, which the government moves to

 3       admit.

 4                MS. AMATO:      No objection to that one.

 5                THE COURT:      All right.    That will be admitted as well,

 6       and we'll get all of that settled in the method that

 7       Ms. Seifert identified earlier.

 8                                       (Government Exhibit No. 1200A 38:18-22

 9                                       received into evidence.)

10                MS. SEIFERT:      Okay.     Page 70 of the transcript.

11                THE COURT:      Seven zero?

12                MS. SEIFERT:      70, line 12.

13       BY MS. AMATO:

14       Q.    "Answer:       I have two things to say.         Okay.   Before I

15       write, I want to say two things.

16             "Question:      And I -- I want to hear them.

17             "Answer:       I know that she sends the guns the first time

18       were sent to Haiti, but she knew that I did not send the guns

19       to Haiti, she did.

20             "Question:      No -- yes.     But I want -- but you knew.

21             "Answer:       She did it."

22                MS. SEIFERT:      Your Honor, move to admit page 70, lines

23       12 through 20.

24                MS. AMATO:      No objection to that section.

25                THE COURT:      That section as well will be admitted.




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 1                                        (Government Exhibit No. 1200A 70:12-20

 2                                        received into evidence.)

 3       BY MS. AMATO:

 4       Q.    Mr. St. Louis, you were asked on cross-examination the

 5       reason why you finally accepted to buy the guns.               And I'm

 6       showing you page 80 of the transcript, starting at line 2.

 7             "Question:      All right.     Why did you feel pressure -- why

 8       did you -- why did you feel pressure to buy guns for Eliande?

 9             "Answer:       She got me caught in this scheme.

10             "Question:      Explain this scheme, what's the scheme you

11       keep talking about?

12             "Answer:       When she said that (indiscernible) have killed

13       me.

14             "Question:      She said she was going to have who -- and who

15       was going to do that?

16             "Answer:       It's when this kidnapping thing happened that

17       she told me, 'I'm with Yonyon.'

18             "Question:      'I'm with Yonyon'?

19             "Answer:       She's Yonyon's wife.

20             "Question:      Okay.    The timeline -- why -- I don't --

21       why --

22             "Answer:       When I said I was going to pick up the guns --

23             "Question:      Walder, listen to me --

24             "Answer:       -- she said your life is over.

25             "Question:      But why?




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 1             "Answer:       You're never going to be able to go to Haiti.

 2             "Question:      But why?   Why were you afraid to buy the guns

 3       for Eliande back in 2020 when she asked you?

 4             "Answer:       Because I've been here so long.          I know that

 5       when you buy a gun, it's under your name (indiscernible).

 6             "Question:      It's (indiscernible).         And it's very true.

 7       It's a --"

 8             This is page 81.

 9             "It's a problem.       When you buy the guns just like

10       (indiscernible), if you're not -- if you're not --

11             "Answer:       Yeah.

12             "Question:      So you get it, you're in trouble because of

13       it.   However, however, why would you be worried about Eliande?

14       She's a 43-year-old woman.           Why would she scare you into

15       buying guns for her?

16             "Answer:       I'm not afraid of her.       No, she's involved in

17       the kidnapping because she's with Yonyon.

18             "Question:      Exactly.   So when she called you beginning in

19       2020, is it fair to say that you didn't want to buy guns for

20       her in 2020?     And why is that?

21             "Answer:       Every time she called me to buy guns in 2020

22       I said 'I'm going to call the police on you.'

23             "Question:      Did you call the police?

24             "Answer:       And she said, 'oh, okay, I'm just playing

25       around.'




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 1             "Question:       Why didn't you call the police?          She's --

 2             "Answer:       I did not call the police because my family in

 3       Haiti because Yonyon --

 4             "Question:       But why then?

 5             "Answer:       -- threatened them.

 6             "Question:       But, but Eliande is just a woman.           She's --

 7       did she tell you --

 8             "Answer:       She might be a woman, but (indiscernible) with

 9       could kill my whole family."

10             Page 82, line 1.

11             "Question:       Why does she have that kind of power?

12       Who does she know?        She has senators?

13          "Answer:    She has senators working for her.

14          "Question:        Who does she know in --

15          "Answer:    No, with Yonyon.

16          "Question:        With Yonyon?     And that's -- and that's what --

17          "Answer:    She has VIP connections with the police."

18          Your Honor, move to admit 80, line 2, to 82, line 7.

19                MS. AMATO:       Well, Your Honor, there's some things in

20       here that do not -- that are actually consistent with the

21       prior impeachment.

22                THE COURT:       So you want me to take out the things that

23       are consistent with your --

24                MS. AMATO:       No, but I mean, I'm stating that it doesn't

25       go to what she's seeking to do.           But I would object; I believe




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 1       it's still over the scope.

 2                MS. SEIFERT:        Defense counsel asked about what caused

 3       him to change his mind, and I think that is part of the

 4       statement he made to the FBI about what caused him.                   And the

 5       next passage also goes to the same.

 6                THE COURT:         The objection is overruled.         This will be

 7       admitted as well.

 8                                           (Government Exhibit No. 1200A 80:2-82:7

 9                                           received into evidence.)

10                MS. SEIFERT:        We're at page 116, line 1.

11                THE COURT:         116.    Okay.

12                MS. AMATO:         Excuse me, Your Honor.        If we could have a

13       proffer as to what this goes toward.

14                MS. SEIFERT:        I just said the next part goes to the

15       same thing.

16                MS. AMATO:         Okay.

17       BY MS. AMATO:

18       Q.    "Question:      In 2020 Eliande called you.            She got a number

19       from somebody in Miami.

20             "Answer:       Yeah.

21             "Question:      She -- that person in Miami got your number

22       from somebody in Haiti; is that correct?

23             "Answer:       Yes.

24             "Question:      Okay.        She got -- she talked to somebody in

25       Miami and that person in Miami talked to somebody in Haiti and




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 1       got your number.

 2             "Answer:       (Nods head yes.)

 3             "Question:      Got it.     Okay.    Eliande never told you who

 4       that person was who gave you -- who gave her your phone

 5       number?

 6             "Answer:       No.    She never did.

 7             "Question:      Perfect.     When she called you, she pestered

 8       you to buy the guns but you refused?

 9             "Answer:       Yes.

10             "Question:      And you thought about going to the police.

11             "Answer:       Yes.

12             "Question:      But you didn't, you didn't call the police

13       because you didn't know who to call."

14             The interpreter says:          "Okay.   He didn't want to go to

15       the police because --"

16                 THE COURT:        Read that over again.

17                 MS. SEIFERT:        The interpreter then says:        "Okay.   He

18       didn't go to the police because when she called him, she

19       threatened him, his wife, and child in Haiti."

20           Special Agent Warren says:            "Okay."

21           "Interpreter:          So he didn't go to the police -- "

22                 MS. AMATO:        And I object to that whole page,

23       Your Honor.     It's beyond the scope --

24                 MS. SEIFERT:        I'm not finished, actually.

25                 THE COURT:        It's continuing on page 117.




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 1                MS. SEIFERT:     Page 117.

 2           "-- because he knew she had backup in Haiti."

 3           Special Agent Warren says:        "Okay.    She had, let's put down

 4       backup in Haiti.

 5           "Interpreter:     She had backup in Haiti that could make

 6       good.

 7           "Special Agent Warren:      Good for (indiscernible) threats.

 8           "Interpreter:     Mm-hmm.

 9           "Special Agent Warren:      Okay.    So then in 2021, because

10       there's so much pressure, you decided in October, in October

11       she talked to you again and she said, Walder, I want you to

12       buy guns.    Okay?    Here, here --

13           "Interpreter:     Okay.   So he says that -- he says that she

14       called him to buy guns for her.         He said no, he doesn't want

15       to be involved in that.

16           "Special Agent Warren:      Okay."

17           And then this is the portion that defense introduced.

18           "Interpreter:     And then subsequently she called again and

19       told him I'm buying the guns for you.          The guns are going to

20       be for you but I'm keeping them at my house.            That's what she

21       says."

22           Move to introduce 116, line 1, to 117, line 16, which is

23       the part of the statement before what defense introduced

24       because it both completes the statement and also because it is

25       consistent with the witness's statement about why he changed




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 1       his mind.

 2                THE COURT:    Ms. Amato?

 3                MS. AMATO:    Objection, Your Honor.         There was no

 4       question about, on my cross-examination, as to why he changed

 5       his mind.    The question was as to what he told law enforcement

 6       was the reason for the guns to be purchased.             That's what the

 7       purpose was of bringing that out, was to show the

 8       inconsistency of his examination previously in court as to

 9       what he was told as to why the -- why he should purchase the

10       guns.

11           And I brought this out to show that he told law enforcement

12       that he was informed that he should purchase the guns because

13       the guns would actually be for him but they would be kept at

14       Tunis's house.

15                THE COURT:    All right.     I think that the objection just

16       made confirms that this is really an argument over the weight

17       and interpretation of the evidence, which I will engage in at

18       some future point, not now.         Right now with respect to the

19       admissibility of the evidence, I do think it's admissible for

20       two reasons:

21           First, that it does provide the context for the portion

22       that was admitted by the defense in their impeachment, and so

23       it's appropriate to allow surrounding passages that provide

24       context to be admitted as well; and secondly, because it does

25       go ultimately to the purpose and willingness of Mr. St. Louis




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 1       to purchase the guns, which is a fundamental point that

 2       is being contested with respect to this examination.

 3           Ms. Seifert.

 4                                       (Government Exhibit No. 1200A

 5                                       116:1—117:16 received into evidence.)

 6                 MS. SEIFERT:    May I approach with counsel on one other

 7       matter?

 8                 THE COURT:   Okay.    Come on up.

 9            (Bench conference.)

10                 THE COURT:   Yes.

11                 MS. SEIFERT:    The only other portion of the transcript

12       that I would seek to admit is that when Mr. St. Louis was

13       asked, he told the police actually about the $3,000, and when

14       Ms. Amato crossed him, she I think engaged --

15                 THE COURT:   From this morning?

16                 MS. SEIFERT:    No.   Last Friday -- Thursday, excuse

17       me -- she engaged in what I objected to as improper

18       impeachment by saying when you spoke to the law enforcement on

19       October 31 you didn't say that.        And of course the witness had

20       not reviewed the statement and he said I don't recall.                And

21       then she got him to say that he in fact didn't say it because

22       he must have forgotten it.

23           But of course it is in the transcript, and I did not seek

24       to redirect him at that time because at that time everyone was

25       concerned about -- on cross-examination -- everyone was




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 1       concerned about the quality of the interpretation.                And so I

 2       refrained from trying to then introduce it in my redirect.

 3             I think that it is fair, given the government's willingness

 4       to recall him, to introduce that additional portion.                But if

 5       the Court does not want me to do that, I want the record to be

 6       clear as to what the witness did say.            I don't think it was

 7       fair the way he was asked the question.

 8             So I'm happy to also put Agent Bonura on the stand and he

 9       can authenticate the statement.          So I defer to the Court's

10       choice.    I'm happy to let Mr. St. Louis go.

11                 THE COURT:   I think we're going to let Mr. St. Louis

12       go.    And I understand your concerns and the ruling that I made

13       previously stands.       And we'll proceed perhaps the way you

14       indicated with respect to any rebuttal case that you have.               Or

15       are you going to put it --

16                 MS. SEIFERT:    I'll put it on right now, Your Honor.

17       Thank you.

18                 THE COURT:   Okay.

19             (End of bench conference.)

20                 THE COURT:   All right.      I think Ms. Seifert has

21       finished with the witness.          Is that correct?

22                 MS. SEIFERT:    Yes, Your Honor.        The government has no

23       further questions.

24                 THE COURT:   Thank you.

25             And Mr. St. Louis, you have finished your testimony today.




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 1       And the marshals can go ahead and escort Mr. St. Louis out.

 2       Thank you.

 3            (Witness steps down.)

 4                 THE COURT:   All right.    Next witness, Ms. Seifert.

 5                 MS. SEIFERT:    The government recalls Special Agent

 6       Bonura.

 7               RYAN BONURA, WITNESS FOR THE GOVERNMENT, SWORN

 8                                DIRECT EXAMINATION

 9       BY MS. SEIFERT:

10       Q.    Special Agent Bonura, were you involved in the interview

11       of Walder St. Louis on October 31, 2021?

12       A.    Yes, I was.

13       Q.    Who else was involved in that interview?

14       A.    Supervisory Special Agent John Warren.

15       Q.    Have you reviewed the videos of the interview?

16       A.    Yes, I have.

17       Q.    I'm showing you page 1, Government's Exhibit 1200, on the

18       ELMO, which purports to be a transcript of the interview of

19       Walder St. Louis on October 31, 2021.           Have you reviewed this

20       document?

21       A.    Yes, ma'am, I have.

22       Q.    Could you correct something for the record about your

23       name on this piece of paper?        Is your name on here?

24       A.    I believe it is.     "Brian Benoro."

25       Q.    And your actual name is Ryan Bonura.




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 1       A.    That's correct.

 2       Q.    Okay.    Great.

 3             Do you recall during your interview of Mr. St. Louis that

 4       he mentioned a transfer of money?

 5       A.    Yes, I do.

 6       Q.    And we're at page 53, line 19.

 7             "Answer:       Here.    The lady did the transfer --

 8             "Question:      The lady, Eliande?

 9             "Answer:       Shirley (indiscernible), she is someone that

10       she made the transfer to.

11             "Question:      What transfer?      Tell me about the transfer.

12             "Answer:       For money, she transferred a huge amount of

13       money to Shirley G.          This is the money I went to get --"

14                MS. SEIFERT:        Your Honor, move to admit 53, lines 19

15       through 25 as a prior consistent statement under Federal Rule

16       801(d)(1)(B)(ii).

17                MS. AMATO:      Objection.     There's no specificity as to

18       the amount of money.

19                MS. SEIFERT:        I have additional passages and I'm happy

20       to wait till I read them all if that would be preferable to

21       defense.

22                THE COURT:      If you want to satisfy that concern, by all

23       means, go ahead.

24                MS. SEIFERT:        Okay.

25




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 1       BY MS. SEIFERT:

 2       Q.    We're on page 55, line 16.

 3             Agent Bonura, actually, would you mind reading?               I've

 4       been doing a lot of the reading.           Why don't you start reading

 5       the highlighted portion, lines 16 to 25.

 6       A.    Yes, ma'am.

 7             "Question:      How did she -- did she give you a money

 8       order?    Did she give you cash?         How did you get the money to

 9       Patrick at the store?

10             "Answer:       She gave me $3,000.

11             "Question:      In cash?

12             "Answer:       Cash.

13             "Question:      When did she give you $3,000 in cash?

14             "Answer:       I went and got the money, I (indiscernible).

15       But she had me give the money back.

16             "Question:      Okay."

17                MS. SEIFERT:        Your Honor, move to admit those two

18       portions of the transcript as prior consistent statements.

19       53, lines 19 to 25; and 55, lines 16 to 25.

20                MS. AMATO:      No objection.

21                THE COURT:      Without objection, those will be admitted.

22       Are they going to be identified with an exhibit number in the

23       same way you mentioned earlier?

24                MS. SEIFERT:        Would Your Honor like me to move them in

25       separately since they came in through a different witness?




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 1                 THE COURT:    I think that's probably better.

 2                 MS. SEIFERT:    Okay.     I'll do that.     Why don't we do

 3       this.    The portions of Government's Exhibit 1200 that came in

 4       through Mr. St. Louis, the government will identify as 1200A,

 5       and the portions that came in through Special Agent Bonura

 6       will be 1200B.

 7                 THE COURT:    All right.    And 1200B, which are these

 8       pages -- the record shows what they are -- will be admitted.

 9                                     (Government Exhibit No. 1200B 53:19-25,

10                                     55:16-25 received into evidence.)

11                 MS. SEIFERT:    And no other questions for this witness.

12                 THE COURT:    Ms. Amato.

13                                CROSS-EXAMINATION

14       BY MS. AMATO:

15       Q.      Good morning.

16       A.      Good morning.

17       Q.      Now, sir, you will agree with me that although at one

18       point on page -- I don't have the page number down -- you were

19       told that I guess it was -- Court's indulgence.              It was 35.

20       That on page, excuse me, 55, that Walder St. Louis had

21       mentioned a sum of $3,000.

22       A.      Yes, he did.

23       Q.      But he wasn't consistent throughout the whole interview

24       with that money amount, was he?

25       A.      I can't state that at this time, ma'am, without...




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 1       Q.      So I'd like to show you, then -- I'm going to mark

 2       this -- not ready yet.       I'm going to mark this as Defense

 3       Exhibit -- I believe I'm up to 15?

 4                 THE COURT:     15 would be your next number.

 5                 MS. AMATO:     And -- Court's indulgence.

 6       BY MS. AMATO:

 7       Q.      I'd like to show you what's been marked as Defense

 8       Exhibit 15, which is the -- show you the first page -- the

 9       transcript of Walder St. Louis of October 31, 2021.                 You

10       indicated -- you told us that you were present for that

11       interview.      Correct?

12       A.      Yes, I was.

13       Q.      Okay.   You were not the one who was actually giving the

14       questions.      Correct?

15       A.      No, I was not, ma'am.        I was in and out of that

16       interview.      There were other activities that were going on at

17       that time.

18       Q.      Okay.   And I'd like to read from line 6, starting at line

19       6, the question was:       "Okay.     And so -- "

20                 THE COURT:     Wait a minute.       Page, please?

21                 MS. AMATO:     Oh, excuse me.       Page 56.

22       BY MS. AMATO:

23       Q.      So line 6, "Question:        Okay.   And so you said you took

24       cash.

25               "Answer:     One time she gave me cash.




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 1             "Question:      How much cash did she give you one time?

 2             "Answer:       A thousand, about a thousand.

 3             "Question:      She gave you 1,000.       So on one occasion she

 4       gave you 1,000, and then?

 5             "Answer:       It's not for me, it's to buy --

 6             "Question:      No, I know.     I know.    So the purpose of the

 7       1,000 was to buy some guns?

 8             "Answer:       You said you want the truth, so I'm telling you

 9       the truth."

10             And so at that point in the interview he said he had only

11       received $1,000.       Correct?

12       A.    Perhaps at this portion of the interview, yes.

13       Q.    And you would agree that that is inconsistent with his

14       testimony of $3,000 -- excuse me, of his having said $3,000.

15       Correct?

16                MS. SEIFERT:      Objection as to the witness's belief

17       about another witness's testimony.

18                THE COURT:      Sustained.

19                MS. AMATO:      Court's indulgence.

20                THE COURT:      Are you moving this passage into evidence?

21                MS. AMATO:      Yes, Your Honor.       Excuse me.     I would move

22       Defense Exhibit 15, just page 56, lines 6 through 16.

23                MS. SEIFERT:      No objection.

24                THE COURT:      Without objection, Defense Exhibit 15 is

25       admitted.




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 1                                         (Defendant Exhibit No. 15 56:6-16

 2                                         received into evidence.)

 3       BY MS. AMATO:

 4       Q.      And then I'd like to show you page 132 of the interview.

 5       And I'd mark this as Defense Exhibit 16.                Starting at line 23

 6       on page 132.

 7               "Question:    Okay.     Through Zelle, although you told me

 8       earlier you did pick up some cash at one point.

 9               "Answer:     Okay.    They gave him 1,000 once."

10                 THE COURT:     That's the interpreter speaking.

11                 MS. AMATO:     Correct.     Yes.

12            Question -- or the agent responds, special agent, senior

13       special agent answers on the next page, 133:                "Okay."

14            Answer from the interpreter:          "They gave him 1,000 to take

15       to Patrick.

16            "Question:      Did she ever give you any extra money for

17       yourself?

18            "Mr. St. Louis:         (Shakes head no.)"

19            And the interpreter states:          "She's never given him any

20       money for his services.          Sometimes she would put gas in his

21       car."

22            I move to move into evidence Exhibit 16, which starts at

23       page 132, at line 23, through page 133, at line 8.

24                 MS. SEIFERT:        No objection.

25                 THE COURT:     Without objection, Defense 16 is admitted.




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 1                                         (Defendant Exhibit No. 16

 2                                          received into evidence.)

 3                MS. AMATO:      Okay.     Thank you, Your Honor.        No further

 4       questions.

 5                THE COURT:      Ms. Seifert?

 6                MS. SEIFERT:      Just briefly, Your Honor.

 7                                REDIRECT EXAMINATION

 8       BY MS. SEIFERT:

 9       Q.    Special Agent Bonura, this is the transcript,

10       Government's 1200 at line 55, and on direct you read 16

11       through 25.     Do you recall?

12       A.    Yes.    That's correct.

13       Q.    About the 3,000 in cash.          And if you could just start

14       reading, to complete the statement, on page 56, lines 1

15       through 5, and then pick up where defense counsel just had

16       you read.

17       A.    "Answer:       When she was doing the transfer, the money

18       transfer, she called Patrick and transferred the money to

19       him through his Cash App.           Cash App.

20             "Question:      She transferred the money to Patrick?

21             "Answer:       Cash App.

22             "Question:      Okay.   And so you said you took cash.

23             "Answer:       At one time she gave me cash.

24             "How much cash did she give you at one time?

25             "A thousand, about.




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 1             "Question:      She gave you a thousand dollars.         So on one

 2       occasion, she gave you a thousand dollars, and then?

 3             "Answer:       It's not for me.    It's to buy --

 4             "Question:      No, I know, I know.      So the purpose of the

 5       $1,000 was to buy some guns."

 6       Q.    Okay.    And so is it a fair characterization that in your

 7       interview, after being asked about the 3,000, the witness then

 8       discussed the 1,000?

 9       A.    That's correct.

10                MS. SEIFERT:      Your Honor, I'd move to admit this whole

11       portion under the rule of completeness.

12                MS. AMATO:      No objection.    I mean, I --

13                THE COURT:      The rule of completeness?        You're

14       completing what you admitted earlier, which actually is not

15       what's usually done with the rule of completeness.

16                MS. SEIFERT:      No, I think that I limited to the

17       specific issue on which defense attempted to impeach the

18       witness, which was whether he had ever told about the 3,000.

19                THE COURT:      I'm not saying that the passage that you've

20       just dealt with the witness on is not admissible.              I think it

21       is.   I'm not sure the rule of completeness is how it gets in.

22       You're responding to some of the cross-examination.                Do you

23       want to change --

24                MS. SEIFERT:      I'm happy to make the government's

25       admission page 55, line 16, to page 56, line 15, so that both




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 1       of those statements come in in context with each other.

 2                THE COURT:    Didn't you start on page 53, actually?

 3                MS. SEIFERT:     Not in this portion, Your Honor.            There

 4       is 53, but that's -- oh, sorry.        I did, Your Honor.        Yeah.

 5       That's with respect to Shirley, the person who sent the money.

 6                THE COURT:    Right.   The exhibit starts on page 53, and

 7       you want it to run through now page 56.

 8                MS. SEIFERT:     No, Your Honor.      I apologize.     I want 53,

 9       lines 19 through 25, with respect to the transfer of money

10       from Shirley, and then 55, lines 16 through 25, which talks

11       about the money from Shirley, and then continuing to 56, line

12       15, to put context and explain the rest of the statement.

13                MS. AMATO:    Your Honor, the government is now

14       testifying that all of this relates to money from Shirley.

15                MS. SEIFERT:     Oh, no.   The government is not.

16                THE COURT:    I don't think that's what is being done,

17       Ms. Amato.

18                MS. AMATO:    Okay.

19                THE COURT:    But the transcript will speak for itself.

20                MS. AMATO:    Right.

21                THE COURT:    I mean, it's not up to the government,

22       i.e., Ms. Seifert, to interpret the transcript for me.

23                MS. AMATO:    All right.    Exactly.

24                THE COURT:    The question is is there any objection to

25       the conversion of Government Exhibit 1200B to include these




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 1       three passages that come from pages 53 through 56 and being

 2       on line 15 of page 56.

 3                MS. AMATO:    So she's now asking from page 53 all the

 4       way through 56.

 5                THE COURT:    No.   No.    It's the three sections that she

 6       identified.     Go ahead and identify them again, Ms. Seifert.

 7                MS. SEIFERT:     Sure.     So page 53, lines 19 through 25;

 8       page 55, lines 16 through 25; page 56, lines 1 through 15.

 9                MS. AMATO:    I have no objection.           I mean, I'm not

10       changing my exhibit.      We still have Defense Exhibit 15 from

11       page 56, lines 6 through 16.

12                THE COURT:    No one's asking you to change your exhibit.

13                MS. AMATO:    I understand.

14       BY MS. SEIFERT:

15       Q.    Defense counsel asked you to read from the transcript at

16       page 132 --

17                THE COURT:    Just want to be clear.

18                MS. SEIFERT:     Oh, I'm sorry.

19                THE COURT:    The 1200B, the government exhibit will

20       include those three sections that have just been identified,

21       and that will be admitted.

22                MS. SEIFERT:     Thank you.

23                THE COURT:    Thank you, Ms. Seifert.

24                                     (Government Exhibit No. 1200B 53:19-25,

25                                     55:16-25, 56:1-15 received.)




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 1       BY MS. SEIFERT:

 2       Q.      Defense counsel asked you to read from the transcript at

 3       page 132, lines 23, 24, and 25, about payments through Zelle.

 4       A.      Yes.

 5                 MS. SEIFERT:       And, Your Honor, I would move to admit

 6       the prior four lines, again for completeness, under the rule

 7       of --

 8                 THE COURT:     We're on 132?

 9                 MS. SEIFERT:       132, line 19, 20, 21 and 22.        It gives

10       context to what the payments through Zelle were about.

11                 MS. AMATO:     Objection, Your Honor.        I was addressing

12       the amounts of money.         I wasn't -- I did not go into anything

13       relative to the specifics that they're now trying to put on

14       the record.     Beyond the scope.

15                 THE COURT:     I think the context is relevant, and

16       therefore I'll allow it to provide a full context.                And are

17       we identifying that as an exhibit?

18                 MS. SEIFERT:       Sure.   I can add it to 1200B.       So this

19       would be lines 19 through 22.

20       BY MS. SEIFERT:

21       Q.      Agent Bonura, could you please read those into the

22       record?

23       A.      Yes, ma'am.

24               "Answer:     Okay.   It was a lot of money.       So the money

25       went directly to Patrick who was selling the guns.




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 1             "Question:      Okay.

 2             "Answer:       Through Zelle."

 3                MS. SEIFERT:      Thank you.      No further questions.

 4                THE COURT:      All right.     Agent Bonura, you may step down.

 5                THE WITNESS:      Thank you, Your Honor.

 6                THE COURT:      Thank you.

 7            (Witness steps down.)

 8                MS. SEIFERT:      And, Your Honor, the government calls

 9       Special Agent Zachary Harrison.

10            ZACHARY HARRISON, WITNESS FOR THE GOVERNMENT, SWORN

11                                 DIRECT EXAMINATION

12       BY MS. SEIFERT:

13       Q.    Could you please introduce yourself to the Court and

14       spell your name for the record?

15       A.    Yes.    My name is Zachary Harrison.              Z-A-C-H-A-R-Y,

16       Harrison, H-A-R-R-I-S-O-N.

17                MS. SEIFERT:      And, Your Honor, may I -- we can address

18       that later.

19       BY MS. SEIFERT:

20       Q.    Tell me your background.          Where do you work?

21       A.    I work as a special agent for the Department of State's

22       Bureau of Diplomatic Security.           I have done that for the last

23       almost 13 years.

24       Q.    What type of places were you assigned to?

25       A.    Domestically I've been assigned to Los Angeles,




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 1       Washington, D.C., and Miami.         And overseas I have served in

 2       Libya, the Dominican Republic, the Republic of Georgia, and

 3       I've done investigations in Colombia, Haiti, and Costa Rica.

 4       Q.    Now, as part of your assignment as a -- can I say DSS?

 5       A.    Yes.

 6       Q.    As a DSS agent, did you also do a detail to the FBI?

 7       A.    I did.

 8       Q.    Tell me about the detail.

 9       A.    I started at the Miami division of the FBI in, I want to

10       say it was July of 2019.

11       Q.    And I'm sorry.     I missed the last part of your answer.

12       A.    July of 2019.

13       Q.    And if you could move a little closer it will be better

14       for our court reporter and me.

15             Okay.    Now --

16                THE COURT:     You don't care about me, Ms. Seifert?

17                MS. SEIFERT:     Well, you're so much closer, Your Honor.

18            (Laughter.)

19       BY MS. SEIFERT:

20       Q.    When you started at -- you said the Miami Field Office,

21       where were you assigned within the office?

22       A.    I was assigned to C5.         It's a extraterritorial squad.

23       Primarily we worked on kidnappings, violent crimes that

24       occurred to Americans overseas, Latin America and the

25       Caribbean.




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 1       Q.    How long did you work at the Miami Field Office?

 2       A.    Four years.

 3       Q.    And as a TFO?     Is that how you refer to yourself?

 4       A.    Yeah.    It's a task force officer with the FBI.

 5       Q.    As a task force officer with the FBI, how did your role

 6       differ or was it similar to the other agents on the squad?

 7       A.    There were no substantive differences.

 8       Q.    And are you knowledgeable -- you mentioned going to

 9       Haiti I think earlier.      Are you knowledgeable about Haiti?

10       A.    Yes, I am.

11       Q.    Why is that?

12       A.    So starting in 2019, I would say that we deployed

13       routinely to Haiti, primarily to investigate kidnappings,

14       homicide, things of that nature.

15       Q.    And how many cases, if you know, did you investigate

16       against crimes against U.S. persons in Haiti?

17       A.    I don't know an exact number, but I would have to say

18       over a hundred.

19       Q.    How many times do you recall yourself visiting Haiti

20       in your four years at the FBI?

21       A.    I couldn't begin to guess, but I would say there was

22       a time where I was spending one to two weeks in Haiti every

23       month.

24       Q.    In the fall of 2021, did you take part in the

25       investigation in the kidnapping of 17 missionaries?




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 1       A.    I did.

 2       Q.    What was your role in that case?

 3       A.    I was one of the principal agents assigned to work that.

 4       Q.    Where did you go after the missionaries were kidnapped?

 5       A.    So approximately a day and a half to two days after the

 6       kidnapping, we deployed to Port-au-Prince.

 7       Q.    When you say "we," who does that mean?

 8       A.    So it was myself and several agents on the squad, and

 9       also support staff.

10       Q.    How long did you stay in Haiti?

11       A.    All totaled I was in Haiti for 45 days.           The first

12       rotation I was there for just over 30.

13       Q.    In the course of your investigation in Haiti, what entity

14       or organization were you interested in with respect to the

15       missionaries' kidnappings?

16       A.    We were particularly looking at the 400 Mawozo gang.

17       Q.    Was that a gang that you were familiar with previously?

18       A.    Yes, we were.

19       Q.    How is that?

20       A.    Through other kidnappings.

21       Q.    And as part of your investigation into the missionaries'

22       kidnapping and the gang more generally, have you reviewed

23       financial documents with respect to U.S. financial

24       institutions and financial services that relate to individuals

25       in your investigations?




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 1       A.    Yes, I have.

 2       Q.    Okay.    And if I could have shown to the witness, please,

 3       Government's Exhibit 501.

 4                THE COURT:    501 is in evidence.

 5       BY MS. SEIFERT:

 6       Q.    501 are the business records of MoneyGram.            Are you

 7       familiar with these records?

 8       A.    Yes.

 9       Q.    If I could have shown to the witness Government's

10       Exhibits 502.1 and 502.2, already in evidence.             And 502.1 are

11       business records from Western Union.          Are you familiar with

12       these records?

13       A.    Yes.

14       Q.    And 502.2, also business records of Western Union, are

15       you also familiar with these records?

16       A.    Yes, I am.

17                MS. SEIFERT:     And, Your Honor, at this time I would

18       move in -- if I could have shown to the witness Government's

19       Exhibit 504.     And Government's Exhibit 504 is a 24-page record

20       from Fifth Third Bank.      If I could have shown to the witness

21       504.C.    And this is a record certification of one page of an

22       employee of Fifth Third Bank with respect to the same records

23       that are Government's Exhibit 504, which the government moves

24       into evidence at this time.

25                MR. ORENBERG:     Are we moving in --




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 1                MS. SEIFERT:     504 and 504.C.

 2                MR. ORENBERG:     Right.   Are we moving in both?

 3       No objection.

 4                THE COURT:    All right.    504 and 504C are admitted.

 5                                     (Government Exhibit Nos. 504,

 6                                     504.C received into evidence.)

 7       BY MS. SEIFERT:

 8       Q.    And if we could go back to 504, please.           Special Agent

 9       Harrison, are you familiar with these bank records from Fifth

10       Third Bank?

11       A.    Yes.

12       Q.    If we could have shown to the witness Government's

13       Exhibit 505.     And 505 is records of Early Warning related to

14       Zelle consumer profile and transaction search.             That's the

15       title on page 1.      It's a 41-page document.

16             If I could have shown to the witness 505.C.            505.C is

17       a certification of an employee of Zelle and Early Warning

18       Services with respect to the records in 505.

19                MS. SEIFERT:     Your Honor, the government moves to

20       introduce 505 and 505.C.

21                MR. ORENBERG:     No objection.

22                THE COURT:    505 and 505C are admitted.

23                                     (Government Exhibit Nos. 505, 505.C

24                                     received into evidence.)

25




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 1       BY MS. SEIFERT:

 2       Q.    Special Agent Harrison, if we could go back to 505.

 3       Are you also familiar with these records, the Zelle records?

 4       A.    Yes, I am.

 5       Q.    Okay.    Now -- we can take that down, please.

 6             In preparation for your testimony today, did you review

 7       all of those financial records that we've just gone through?

 8       A.    I have.

 9       Q.    Specifically with respect to the Western Union and

10       MoneyGram records, those have multiple tabs of data.              Is

11       that fair?

12       A.    Yes.

13       Q.    Those are spreadsheets, for the record.

14             And was all of the data in the records relevant, or only

15       portions?

16       A.    Only portions.

17       Q.    And did you review the financial information and analyze

18       those records with information that was relevant to the

19       individuals in this case?

20       A.    Yes, I did.

21       Q.    Did you prepare a summary about the relevant financial

22       records for the Court's benefit?

23       A.    Yes.

24       Q.    Have you reviewed the summary prior to your testimony

25       today?




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 1       A.      Yes, I have.

 2       Q.      Okay.   And I'm showing on the screen to the witness

 3       what's been marked as Government's Exhibit 500A.              Do you

 4       recognize this document?

 5       A.      Yes, I do.

 6       Q.      Is this the summary of the financial transactions that

 7       you determined were relevant to the investigation of this

 8       case?

 9       A.      Yes.

10       Q.      Does the summary in 500A fairly and accurately state the

11       financial records that we've just discussed?

12       A.      Yes, it does.

13                 MS. SEIFERT:    Your Honor, move to admit 500A under

14       Federal Rule of Evidence 1006.

15                 MR. ORENBERG:    No objection.

16                 THE COURT:    500A is admitted.

17                                     (Government Exhibit No. 500A

18                                      received into evidence.)

19       BY MS. SEIFERT:

20       Q.      And we're on page 1 of 500A.       And you just testified

21       about several records.      What is shown on -- sorry, this is

22       page 2 actually of the document.          It's an 11-page document

23       for the record and we're on page 2.

24                 THE COURT:    Thank you.

25




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 1       BY MS. SEIFERT:

 2       Q.      And you just testified about several records.             What does

 3       page 2 show the Court?

 4       A.      It shows the records that you asked me about.             These

 5       are relevant financial records related to this case.

 6       Q.      Does it include each exhibit number for those records?

 7       A.      Yes, it does.

 8       Q.      Let's start about what the records show from March of

 9       2021.    And let's start first with the MoneyGram records which

10       are on the top half of the screen.

11       A.      Yes.   So the slide depicts MoneyGram records or wire

12       transactions from MoneyGram sent in March 2021.               A total of

13       $3,000 was sent from Santia Jean to Eliande Tunis.

14       Q.      And when you say $3,000, is it one transaction or two

15       transactions?

16       A.      It's two transactions.       The first is for $2,000 sent on

17       March 12, and the second is for $1,000 sent on the same day.

18       Q.      On the MoneyGram records, just to orient us for the first

19       time, what type of information is MoneyGram collecting?                 Let

20       me ask you first:       What is in the box I'm circling now?

21       A.      It's the phone number associated with the person sending

22       the money.

23       Q.      The sender?

24       A.      Yes.

25       Q.      And what about the information in the next box?




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 1       A.    It's the ID number of the sender.

 2       Q.    Okay.    And from the receiver, the last box on this line.

 3       A.    It's the phone number associated with the person

 4       receiving the money.

 5       Q.    If you could please also address for the Court the second

 6       part of this page, this bottom half which talks about Western

 7       Union records in March of 2021.

 8       A.    Certainly.     The lower half of the same slide shows two

 9       transfers from Western Union in March 2021.            The first is

10       $2,000, again sent from Santia Jean again to Eliande Tunis,

11       on March 12.     The second is $2,500 sent from Santia Jean to

12       Eliande Tunis on March 19.

13       Q.    And so just for reference, the first three transfers

14       you're describing are all on what date?

15       A.    March 12.

16       Q.    And then the last transfer is when?

17       A.    March 19.

18       Q.    And just in general, with respect to your review of the

19       records of MoneyGram and Western Union, when Ms. Santia Jean

20       was the sender, do you notice anything about her using

21       multiple services to send money on the same day?

22       A.    Yes.    It seems routine that she breaks up money transfers

23       that she's sending to people.

24       Q.    Now, are you familiar with the phone that the FBI

25       obtained a search warrant for belonging to Eliande Tunis?




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 1       A.    Yes, I am.

 2       Q.    And if I could have shown -- we're going to switch

 3       computers here for a minute.         Mr. Casillas, if you could

 4       please show to the witness Government's Exhibit 104B.

 5             And Special Agent Harrison, are you familiar with this

 6       document?

 7       A.    Yes, I am.

 8       Q.    Did you review it before you took the stand today?

 9       A.    Yes.

10       Q.    And for the record, 104B is a 57-page record.              On page 1

11       it states "Extraction Report, Apple iPhone," and the word

12       "Cellebrite."        Let me ask you, Special Agent Harrison, what

13       is this document?

14       A.    So this is the report that we obtain when we do digital

15       downloads of phones via Cellebrite.

16       Q.    You said you reviewed this report previously.

17       A.    Yes.

18       Q.    And could you describe for the Court on page 1 who the

19       participants are in the messages contained in this extraction

20       report.

21       A.    Yes.   So there are two phone numbers that are of concern.

22       The first is -- I'm going to -- is 509-948-743589, and the

23       second is 609-470-3447.

24       Q.    And the report states that that's the owner of the phone?

25       A.    Yes.




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 1       Q.    And does Government's Exhibit 104B fairly and accurately

 2       depict the report of the text messages between those two phone

 3       numbers that was pulled from Ms. Tunis's phone already in

 4       evidence as Government's Exhibit 100?

 5       A.    Yes, it does.

 6                MS. SEIFERT:     Your Honor, move to admit 104B.

 7                MR. ORENBERG:     No objection.

 8                THE COURT:    Without objection, 104B is admitted.

 9                                     (Government Exhibit No. 104B

10                                      received into evidence.)

11       BY MS. SEIFERT:

12       Q.    If we could just go down and zoom in on the first message

13       between these two users.

14             Special Agent Harrison, when the phone report was pulled,

15       what was the earliest date of messages between these two phone

16       numbers?

17       A.    So it says here the earliest date is June 14, 2021.

18       Q.    So we previously talked about transfers between Ms. Tunis

19       and Ms. Jean in March of 2021.        Was the FBI able to find any

20       messages from that time period on this phone, Ms. Tunis's

21       phone, Exhibit 100?

22       A.    I believe that we were.

23       Q.    Well, so let me ask you, this report is after that.

24       So my question is, is this the oldest message in the report?

25       A.    Yes, it is.




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 1       Q.    Sorry.    That was not clear.       Okay.       Now, we can take this

 2       down, please.

 3             And in preparation for your testimony today, did you also

 4       review messages from Ms. Tunis's phone that appeared to be

 5       related to financial transactions?

 6       A.    Yes, I did.

 7       Q.    And did you cull those messages into a summary document

 8       for the Court's benefit?

 9       A.    Yes.

10       Q.    Okay.    And if I could have shown to the witness what's

11       already in evidence as Government's Exhibit 101.               And

12       Government's 101 is a 1,293-page document involving WhatsApp

13       chats between Ms. Tunis and a phone number ending in 9101.

14       Are you familiar with this document?

15       A.    Yes.

16       Q.    If I can have shown to the witness what's been admitted

17       as 101T.     Government's 101T is a 471-page document of

18       translations with respect to Government's Exhibit 101.

19             Are you familiar with this document?

20       A.    Yes.

21       Q.    If I may have shown to the witness Exhibit 102, which has

22       been admitted.       102 is a 134-page document of an extraction

23       report with respect to Ms. Tunis's phone and WhatsApp chats

24       with the phone number 5243.         Are you familiar with this record?

25       A.    Yes.




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 1       Q.     And if I could have shown to the witness Government's

 2       Exhibit 102.09T.      Are you familiar with Government's Exhibit

 3       102.09T, a translation of messages related to Government's

 4       102?

 5       A.     Yes.

 6       Q.     If I could have shown to the witness, please, what's been

 7       admitted as Government's Exhibit 103.

 8                THE COURT:    102.09T is not a separately admitted

 9       exhibit.      The only thing that's admitted is 102.T, which

10       covers all the translations.

11                MS. SEIFERT:     Apologies, Your Honor.

12                MS. PASCHALL:     Your Honor, I think 102.09 --

13       (inaudible).

14                THE COURT:    That's true, but not 102.09T.

15                MS. PASCHALL:     It's a subportion of 102.09, Your Honor.

16       It's not listed on your exhibit list, but if you were to open

17       Government's Exhibit 102.09, it would contain 102.09T.

18                THE COURT:    Well, it's fairly confusing because

19       sometimes you've admitted and used separately 102-point

20       whatever and then 102-point whatever T as well.              But sometimes

21       apparently you don't.

22                MS. PASCHALL:     Right.    I can --

23                THE COURT:    But I'm supposed to know when you have

24       and when you haven't.

25                MS. PASCHALL:     Yes.     So, Your Honor, just to be clear,




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 1       when a subsection T was introduced, that was introduced

 2       through FBI linguist Basquin because he only did a few

 3       individuals.     However, yesterday Ms. Recio from Language

 4       Services did the larger exhibits, 101T, 102T, that encompassed

 5       more of those translations.         So rather than going through each

 6       of those individually, those are the larger ones, are from ILS

 7       Services, the ones that were individually admitted were the

 8       ones that came from FBI linguist Basquin.

 9                 THE COURT:   Okay.   I -- let's return to the exact

10       point here.

11                 MS. PASCHALL:    Sure.

12                 THE COURT:   The exhibit you're dealing with now is

13       what?    102.09T?

14                 MS. SEIFERT:    I'm going to withdraw that and just

15       ask --

16                 THE COURT:   You don't have to.        Actually, 102.09T is

17       separately in evidence through Special Agent Basquin.

18                 MS. SEIFERT:    Okay.     Great.

19       BY MS. SEIFERT:

20       Q.      And are you familiar with that translation?

21       A.      Yes, I am.

22       Q.      And if I can have shown to the witness Exhibit 103,

23       already in evidence.      And Government's Exhibit 103 is a

24       106-page document involving WhatsApp chats between Ms. Tunis's

25       phone and a phone number ending in 5735.              Are you familiar




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 1       with this record?

 2       A.     I am.

 3       Q.     And can I have shown to the witness what's been admitted

 4       as 103T.      103T is a 42-page document that has translations

 5       related to 103.      Are you familiar with this record?

 6       A.     Yes.

 7       Q.     If I may have shown to the witness -- we've already seen

 8       104B, so let's look at 104T.

 9              104T is a 79-page record with respect to translations

10       with respect to Government's Exhibit 104.            Are you familiar

11       with this record?

12       A.     Yes.

13       Q.     And if I could have shown 105.        105 is a 19-page record

14       with respect to WhatsApp chats between Ms. Tunis's phone and a

15       phone number ending in 2871.        And are you familiar with this

16       record?

17       A.     Yes, I am.

18       Q.     And if I could have shown lastly 105T.          This is a 17-page

19       document with respect to translations for Government's Exhibit

20       105.   Are you also familiar with this record?

21       A.     I am.

22       Q.     Special Agent Harrison, are these the records that you

23       reviewed in preparation for your testimony today?

24       A.     They are.

25       Q.     These the records that you then summarized to find




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 1       relevant messages in your view about financial transactions?

 2       A.    Yes.

 3       Q.    And when you summarized that evidence and you put it into

 4       a summary, did you personally review the evidence yourself?

 5       A.    I did.

 6       Q.    And did you accurately summarize the evidence with

 7       respect to the text messages or chats that you thought were

 8       relevant to financial records?

 9       A.    Yes.

10                MS. SEIFERT:     Your Honor, move to admit under 1006

11       government's -- I'm sorry.          Missing one step.      If I might have

12       the computer at the podium, please.

13                THE COURT:    Are we going to 500B?

14                MS. SEIFERT:     500B, yes, Your Honor.

15                THE COURT:    I just want to be able to write it down.

16       BY MS. SEIFERT:

17       Q.    Government's Exhibit 500B.         500B is a 46-page document

18       and on the first page it says "Exhibit 500B, Summary of

19       Financial Messages."

20             Is this the same summary we've been discussing?

21       A.    Yes, it is.

22       Q.    And you reviewed it before you got on the stand today?

23       A.    I did.

24                MS. SEIFERT:     Your Honor, move to admit 500B under

25       Federal Rule of Evidence 1006.




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 1                MR. ORENBERG:     No objection.

 2                THE COURT:    Without objection, 500B is admitted.

 3                                     (Government Exhibit No. 500B

 4                                      received into evidence.)

 5       BY MS. SEIFERT:

 6       Q.    Special Agent Harrison, for the purposes of your

 7       testimony, we're going to flip back and forth between these

 8       two exhibits, and we're going to start --

 9                THE COURT:    The two exhibits being 500A and 500B.

10                MS. SEIFERT:     That's right, Your Honor.

11       BY MS. SEIFERT:

12       Q.    Before we start that, I want to go to page 2 of 500B.

13       Does page 2 state the records you just reviewed with the

14       Court?

15       A.    Yes, it does.

16       Q.    Okay.    And could you describe -- this is page 3 -- how

17       you attributed each of the phone numbers in this report to

18       individuals in the case?       And you can start with the first

19       name on page 3.

20       A.    So we were able to identify the names associated with the

21       numbers via contact lists in the phone's registration, cell

22       phone registration information, Western Union receipts.

23       Q.    Well, let's start with the first name.           What is the first

24       name listed on page 3?

25       A.    Joly Germine.




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 1       Q.    What is the phone number, just the last four digits?

 2       A.    9101.

 3       Q.    If Mr. Casillas could pull up what's already been

 4       admitted as Government's Exhibit 140.

 5             Why don't we come back to that first number.               Let's go to

 6       the other numbers on the list.          So we have -- we're going to

 7       come back to the first and last numbers.               Let's start with the

 8       second number for Ms. Eliande Tunis ending in 3447.                 How did

 9       you attribute that to Ms. Tunis?

10       A.    That is the phone number that was listed as the

11       confirmation receipt for her Western Union transactions.

12       We also have her cell phone.

13       Q.    And that's Government's Exhibit 100.              And Mr. St. Louis,

14       whose phone number you attributed to 5735?

15       A.    The same.

16       Q.    Western Union?

17       A.    Yes.

18       Q.    And Mr. Dor, whose phone number you attributed to 5243?

19       A.    Western Union as well.

20       Q.    Ms. Jean, whose phone number ending in 3589 you

21       attributed to her.

22       A.    Via money transfers through MoneyGram.

23       Q.    Now, if I could have Mr. Casillas pull up Government's

24       140, which is in evidence.          Pages 2, 3, 4, and 5.        Is this

25       the same information that you reviewed to attribute the phone




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 1       number ending in 9101 to Mr. Germine?

 2       A.    Yes, it is.

 3       Q.    If we could take this exhibit and go to page 15.                    And

 4       page 15, page 16, and page 17.          Is this the same information

 5       that you reviewed in order to attribute to Ms. Jean the phone

 6       number ending in 2871?

 7       A.    Yes.

 8       Q.    Okay.    Thank you.    And we can take this record down, and

 9       we'll go back to Government's Exhibit 500B, which I have here

10       at the podium.

11             Okay.    Now, let's start with page 4 of your presentation

12       for the Court.       And September 27, 2021.           Move to page 5.      If

13       you could please tell the Court about the phone records that

14       were relevant on that date.

15       A.    So these are text messages sent on September 27, 2021,

16       between Eliande Tunis and Mr. Germine.

17       Q.    If you could read the messages.

18       A.    Eliande Tunis says:      "Baby I told Santia 5,000."

19             Mr. Germine responds:         "Yes, you can tell him/her that."

20             Eliande responds:      "I just finished talking to Santia now

21       and I will ask the store for the bullets."

22       Q.    Now on page 6?

23       A.    On this, it's text messages from the same day, September

24       27, 2021, between Eliande Tunis and Santia Jean.                 Santia Jean

25       sends a message:      "Sandal, I need to know where you live




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 1       exactly."

 2             Eliande Tunis responds:       "Address 2951 NE 10th Terrace,

 3       Pompano Beach, Florida, 33064."

 4             Santia Jean sends a series of numbers:           "52815311 Santia

 5       Jean."

 6             And then Eliande Tunis responds:           "Okay Sandal.

 7       Thank you."

 8       Q.    Okay.    Now let's pivot to Government's Exhibit 500,

 9       and we'll start on page 5, which relates to September 2021.

10                THE COURT:    What document is this?

11                MS. SEIFERT:     This is 500A.

12                THE COURT:    Good.   Because 500 is not in evidence.

13                MS. SEIFERT:     I'm sorry.    500A.     Page 5.

14       BY MS. SEIFERT:

15       Q.    And then what do we see with respect to September 27 and

16       28 on page 6 of 500A?

17       A.    So we're looking at transfers sent via MoneyGram and

18       Western Union, both in September of 2021.

19       Q.    Okay.    If you could read for the Court, let's start with

20       the top half of the slide, the MoneyGram transfers on

21       September 27 and -- let's start with just the 27th, please.

22       A.    Sure.    On September 27, 2021, Santia Jean sends $2,500 to

23       Eliande Tunis.

24       Q.    And -- now we'll take this down and go back to 500B.             And

25       let's talk about what happens on September 28.              This is page 8




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 1       of 500B.

 2       A.    On the 28th of September 2021, these are messages between

 3       Eliande Tunis and Santia Jean.          The first message from Eliande

 4       Tunis reads:     "$5,000," and she sends an image of what appears

 5       to be a Florida address.

 6       Q.    You don't have to read the address.

 7       A.    Okay.

 8       Q.    You can go on to the next message, please.

 9       A.    Again Eliande Tunis follows up with a message that says

10       "Sandal is calling Deko."

11             Santia Jean responds:         "You have to send me the full

12       address."

13             And Eliande Tunis sends:         "Address, 401 SW" --

14       Q.    I'm going to just ask you -- it's the first -- you can

15       just tell me the ZIP code of the address.

16       A.    33064.

17       Q.    And let's go back to 500A, which is now on the ELMO.

18       And if you could go back to the September 2021 transaction for

19       MoneyGram on the second line that says September 28, 2021.

20       A.    Yeah.    For September 28, 2021, Neissa Orelus sends $2,000

21       to Natasha Antoine.

22       Q.    And the address that's listed in the receiver address

23       here, is that the same address that was listed in the text

24       messages you just reviewed?

25       A.    Yes, it is.




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 1       Q.    And then let's look also on the 28th with respect to

 2       the Western Union records.

 3       A.    Yes.    So we see again Neissa Orelus sending $2,000 to

 4       Natasha Antoine, and again at the same address.

 5       Q.    Okay.    Now returning to Government's Exhibit 500B, at

 6       page 9.    If you could tell the Court what page 9 shows.

 7       A.    It shows WhatsApp messages on September 28, 2021.

 8       Santia Jean sends what appears to be an image.             Eliande Tunis

 9       responds:     "Did you make the other one?"          Santia Jean responds

10       with another image, followed by a name, Neissa Orelus, and then

11       Eliande Tunis responds:       "Thank you."

12       Q.    And is that the same name we saw on the prior records as

13       the sender?

14       A.    Yes.

15       Q.    And page 10.

16       A.    This is the image that was sent in the prior WhatsApp

17       exchange, and there's what appears to be -- it appears to be a

18       MoneyGram confirmation receipt with the confirmation number

19       highlighted on that, 52815311.

20       Q.    Is that the number that you read from the prior day's

21       messages?

22       A.    Yes.

23       Q.    What do we see on page 11?

24       A.    Again, this is a Western Union confirmation receipt,

25       and circled is a confirmation number reading 2842178817.




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 1       Q.      Returning to Government's Exhibit 500A, which is on the

 2       ELMO, and this is page 6.       On the Western Union part, second

 3       line, could you read that control number in the second column

 4       of the second line?

 5       A.      Sure.    The control number reads 2842178817.

 6       Q.      Is that the same number we were just discussing in the

 7       messages?

 8       A.      Yes.

 9       Q.      Go back to 500B at page 12.        What do we see on these

10       other messages on WhatsApp on September 28?

11       A.      Sure.    This is a WhatsApp exchange between Eliande Tunis

12       and Mr. Germine.      Eliande Tunis sends a voice message that

13       says:    "I sent hm $2,500 to Jocelyn.          Um, he took $700 out of

14       it.   You know that the 3 he bought were for $4,700.               There's a

15       balance of $2,000.      Jocelyn has $2,000 left.          So I asked him

16       to buy bullets with the other $2,000 that are left.                He told

17       me that where he bought the guns, the guy told him he couldn't

18       get bullets.      Meaning that Jocelyn can't get any bullets.             I

19       left the $2,000 for the bullets.           As far as the $4,000 Sandal

20       sent him, the $2,500 he sent under my name were transferred to

21       Jocelyn.       4, the other $4,000 that were sent, I took 2 and

22       went with $2,000.      I'll need about 3,000 more dollars.              I'll

23       add the $3,000 to the $2,000 to go to the store and place the

24       order.    All right, honey."

25               Mr. Germine responds:       "I'll have Santia send money




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 1       tomorrow, God willing, because we'll still buy the stuff.

 2       You know the weapons won't be enough.            Jocelyn said to me,

 3       oh, brother, why don't you have me take all these at once?              I

 4       told him no.     I said no, my man, I won't be able to have you

 5       take all of them at once.       We must control things.         After they

 6       deliver these to us, we need to wait 2-3 days to take them.

 7       He said, 'No such shit.'       He says, 'Well, now, I'm taking the

 8       other license.'      License to buy fully automatic weapons.          He

 9       said, 'fully automatic.      If they harass you, fire bullets in

10       their teeth, in their faces.'        When this guy talks, darling,

11       this guy loves me so much."

12       Q.    Okay.    We're now on page 13, which is a continuation of

13       the messages from September 28.

14       A.    And again, this is from Mr. Germine:           "Now baby, I'm

15       sending some money ahead.       I'm sending money and I'll also

16       leave it in Jocelyn's hands.        If the guy gives him this one.

17       I don't know if they will give him all the stuff at once.

18       They will also give it to him or in two days or three days

19       because he told me he had to type the papers to send the

20       papers away.     I'll wait for Jocelyn to take 3 days, 3 days to,

21       3 days or tomorrow, God willing.         I'll send them tomorrow and

22       the day after tomorrow so he can go look for the stuff, so he

23       can order the Kalashnikovs with the bullets.            Do you

24       understand?     To order the Kalashnikov with the bullets I'll

25       order -- I'll have Jocelyn buy more weapons because Walder




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 1       will waste my time, he will play."

 2              "As for Jocelyn, he won't be playing or wasting time.

 3       If Jocelyn takes 3, 3 plus Kalashnikov, that will make 4.

 4       The 12 guns will make 5.       The other two that he gave to

 5       Patrick will make 7.      It will be 7 and it will still be

 6       missing 3.     I will be missing 3.      Do you see what I'm telling

 7       you?   One of the AR-15s is for my uncle.            One for me, one for

 8       my uncle.      Then, as for myself, what I needed the most is the

 9       Kalashnikov.     The Kalashnikov is very effective.           There's no

10       bullshit when it's a Kalashnikov.         You see the Kalashnikov,

11       immediately you realize it's very effective.             It crushes

12       everything in its way."

13       Q.     Okay.    And we're on page 14, which is about September 29,

14       2021, the next day.      Please tell the Court about the messages

15       on page 15 of Government's Exhibit 500B.

16       A.     Sure.    This is a WhatsApp exchange sent September 29,

17       2021, between Eliande Tunis and Santia Jean.             The first

18       message from Santia Jean is an image followed by a voice

19       message.

20              "You'll see one is $2,000, the other is $2,500.             The

21       reason is because the lady told me that, you know, yesterday I

22       made a transaction and today I came again.             They tell me they

23       can't send $2,500 for me.       They will send 2,000.         After that

24       they'll send 2,500 so that I'm not blocked by the system.

25       Because that's the only place where -- it's the only place I




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 1       usually send money abroad that sends this amount of money for

 2       you, even if you don't have an account associated with your

 3       name.    Now she tells me she doesn't want me to get blocked."

 4               Eliande Tunis responds:      "Okay.    The MoneyGram is $2."

 5               And Santia Jean, again in a voice message, says:               "Yeah,

 6       MoneyGram 2,000 and Western Union 2,500."

 7       Q.      On page 16 what do we see?

 8       A.      A Western Union confirmation receipt with a highlighted

 9       confirmation number of 9158412618.

10       Q.      And now we'll pivot to Government's 500A at page 6.

11       Let's start at the top half of the record, which has the

12       MoneyGram transfers on line 4 on September 29.              Would you

13       please read in lines -- or explain to the Court lines 4 and 5.

14       A.      Sure.   On September 29 this shows two MoneyGram

15       transactions.        The first one is for $2,000 sent from Santia

16       Jean to Jocelyn Dor.       And the second one is for $2,000 sent

17       from Neissa Orelus to Eliande Tunis.

18       Q.      And on the second, below, part of the same page, we see

19       the Western Union records also for September 29, the last two

20       lines.    Could you start there, please?

21       A.      Sure.   On September 29 via Western Union Santia Jean

22       sends $2,500 to Jocelyn Dor.         And on the same day Neissa

23       Orelus sends $2,500 to Eliande Tunis.

24       Q.      We'll go back to Government's 500B.           These messages now

25       are on page 17 of this document.          Please tell us what's in the




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 1       document.

 2       A.    Sure.    It's a WhatsApp message sent from Eliande Tunis to

 3       Mr. Germine on September 29, 2021.         It's a voice message, and

 4       it says:    "Baby, Santia called you this morning but she didn't

 5       find you.     She called me and told me that you already talked

 6       to her last night.      What should she do?          So, I had her send

 7       the same amount, 2,000 to Jocelyn, hmm, 4,000 to Jocelyn,

 8       5,000 to me.     But she told me I told you to send her the

 9       receipt, to send it to Jocelyn, Jocelyn's receipt.                But she

10       told me she couldn't find you.        She asked if she may send it

11       to me?    I told her yes, she may, because I was talking to

12       Jocelyn a few hours ago.       So I don't know if Santia sent -- if

13       you found the receipt or if you already talked to Jocelyn to

14       send it to him."

15       Q.    And if you could just -- I think there might have been a

16       mis- -- I might have heard you wrong, but if you could just

17       reread the portion that I underlined?

18       A.    Sure.    "I told her to send you the receipt."

19       Q.    Okay.    Thank you.

20             All right.     Let's go into October.          October 4, 2021.       And

21       we'll go on the ELMO with Government's Exhibit 500A, onto page

22       8.   What do we see -- this is a little hard to read, so give

23       me a second to just zoom in on the ELMO.

24             This might be all the way zoomed in.             Why don't I

25       approach the witness with page -- I believe everyone has a




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 1       paper copy except for the witness.          So why don't I approach

 2       the witness, please, with page 8 of Government's Exhibit 500A.

 3                THE COURT:       You may.

 4       BY MS. SEIFERT:

 5       Q.     Special Agent Harrison, what do we see in 500A on page 8?

 6       A.     These are Zelle transactions.

 7       Q.     Who are they between?

 8       A.     Eliande Tunis and Jocelyn Dor.

 9       Q.     How much money was sent between the two people via Zelle?

10       A.     It's a little hard to make this out, but it looks like

11       there was a thousand dollars sent.

12       Q.     And who's the sender?

13       A.     The sender is Eliande Tunis, and the recipient is Jocelyn

14       Dor.

15       Q.     Okay.    I can retrieve the exhibit.

16              And we're back in Government's 500B.           On October 4, 2021,

17       what do we see on page 19 of this exhibit?

18       A.     This is a WhatsApp exchange between Eliande Tunis and

19       Jocelyn Dor.     Eliande Tunis sends a message with a photo

20       attached.      It says:    "Baby, this is it, right?"        And Jocelyn

21       Dor responds:        "Darling, this is it.     This is it."

22       Q.     What do we see on page 20?

23       A.     It is the image that was sent in the previous messages,

24       and it is -- it appears to be the location of ATM and branches

25       for Palmetto Park.




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 1       Q.      And up at the top you can see there's like a time stamp

 2       and some bars and a little battery.          What does that appear to

 3       be you to you?

 4       A.      It appears to be a screenshot.

 5       Q.      And a screenshot, what is the website?

 6       A.      Locations.53.com.

 7       Q.      And now we're in Government's 500A at page 9.             On October

 8       5 with respect to the records of Mr. Dor, what did your

 9       investigation reveal?

10       A.      So there's a wire transfer for $15,000 into Palmetto

11       Park.    It's the Fifth Third Bank.

12       Q.      And you said wire transfer, but just to be clear, the

13       record just says cash --

14       A.      I'm sorry.   "Cash in."

15       Q.      "Cash in"?   Okay.   And the FC Name is what?

16       A.      Palmetto Park.

17       Q.      What is the amount?

18       A.      $15,000.

19       Q.      Now returning to Government's Exhibit 500B, now at slide

20       21, we're getting into October 5, 2021.              What are the messages

21       on slide 22 of 500B?

22       A.      It's a WhatsApp exchange from October 5, 2021, between

23       Eliande Tunis and Mr. Germine.         Eliande Tunis sends a message

24       that reads:     "Yes, I am going to his bank to deposit the

25       money."




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 1             Mr. Germine responds:         "That is what he told me."

 2             Eliande Tunis responds:         "He is at the bank waiting for

 3       the money when I'm done."

 4       Q.    We're in 500A on the screen at page 10.             What records do

 5       we see here?

 6       A.    So we see account information from -- related to Jocelyn

 7       Dor for Fifth Third Bank in October 2021.

 8       Q.    Could you read for the Court the deposits into Mr. Dor's

 9       bank account between October 4 and October 7 which are marked

10       in a red box.

11       A.    Sure.    On October 4 there were two deposits made via

12       Zelle.    The first was for $50.        The second was for $950.        On

13       October 5 there was $15,000 deposited.             And October 7 there

14       was $6,330 deposited.

15       Q.    And we're back on 500B.         Now on page 23, on the date of

16       October 6, 2021.      Special Agent Harrison, please start with

17       slide 24 or page 24 of this exhibit.

18       A.    It's a WhatsApp exchange between Eliande Tunis and Santia

19       Jean from October 6, 2021.          The first message from Santia Jean

20       is an image with the following text:            "They didn't allow me to

21       send 1,100.     I'll send 1,000, Sandal."

22             Eliande Tunis responds:         "Okay, you can send the rest to

23       Deko."

24       Q.    And slide 25?

25       A.    It's a zoomed-in image that was sent in the previous text




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 1       message.    It's a Western Union confirmation receipt with a

 2       highlighted confirmation number 9418875011.

 3       Q.    And we'll pivot to Government's 500A at page 11.                And

 4       looking at the Western Union document in the second half of

 5       page -- or bottom half of the page, do you see that same

 6       number, that confirmation number, 9418875011 on this record?

 7       A.    I do.    It's the control number associated with the

 8       transfer.

 9       Q.    How much money was sent by Santia Jean listed in the

10       first line?

11       A.    A thousand dollars.

12       Q.    And what's the date of the send?

13       A.    The date is 6 October 2021.

14       Q.    I'm returning to Government's 500B.            We'll now move to

15       page 26.    Please explain to the Court these messages.

16       A.    So this is the transcription of an audio message sent

17       from Eliande Tunis to Mr. Germine on October 6, 2021.                 The

18       message reads:       "I checked a few minutes ago and saw that

19       he/she sent a -- he/she sent the receipt to me.             He/she told

20       me they wouldn't let him/her send $1,100.            He/she could only

21       send $1,000.     I told him/her that it's okay, no problem.             So

22       I'm giving it to Jocelyn.       So when you do your control with

23       him/her, remember that it's a thousand dollars.             He/she didn't

24       send $1,100.     Do you understand what I'm telling you?              He/she

25       should come back with the 100 U.S. dollars.            Hmm.   What else?




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 1       It seems that the people are busy at the store since -- hmm,

 2       Walder told me that he would arrive at around 1:00."

 3       Q.    And page 27.

 4       A.    So this is again Western Union -- I'm sorry.              WhatsApp

 5       messages sent between Eliande Tunis and Santia Jean on October

 6       6, 2021.    Eliande Tunis sends a voice message that reads:

 7       "It's today that Jocelyn needs the money.             I already sent the

 8       voice message to Deko, no problem.         Which $1,000?        They told

 9       you that out of the $5,000 you can only send $1,000 for your

10       sister.    Can they send it to your sister only?"

11             And then Santia Jean responds in a voice message.                 The

12       transcription is:      "You told me to send 2,500; 2,500, and then

13       I need to send 1,100.      They don't let me send 1,100 because

14       Western Union called me a few minutes ago.              If they called me

15       while I was at home, I would have already told Deko about it.

16       They didn't call me while I was at home.             I just saw it was

17       Western Union, went out, my phone rang.              They called me saying

18       they need information from me.        This money that I'm sending,

19       as if I'm sending money to people abroad, where did I get it,

20       like what business I'm doing to earn the money.               And I said

21       the goods came from abroad and we sell them.              Then, we buy

22       U.S. dollars to send back to the person and the person can --

23       so that the person can buy goods themselves to send back to

24       Haiti.    They'll resell the goods for them.            They asked, do you

25       have a warehouse?      I said no, we don't have a warehouse but




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 1       we're wholesalers of secondhand products.             We sell

 2       televisions, beds, a lot of things as wholesalers.               It's for

 3       the person so they can purchase goods.            And the signal was

 4       poor.    I hung up the phone.       The call ended -- the call ended,

 5       I didn't hear from them, they didn't call me again.               Then

 6       Titit came.     Now they tell him that they can do it for him.

 7       He must come early tomorrow morning at eight o'clock so that

 8       they will have the opportunity to do it for him because he has

 9       an account.     They won't be able to do it for me.           Now I called

10       Deko.    I called Deko so I could ask Deko what to do or what

11       not to do because Titit asked me if he could send the $1,000."

12       Q.      And slide 28.    Page 28.

13       A.      Sure.   Again on October 6, WhatsApp exchange between

14       Eliande Tunis and Santia Jean.         Santia Jean's voice message

15       reads:    "Sandal, I'll see if I could do it in Marasa.                I'd

16       have Titit send $2,500 today and then I'll have him send 2,500

17       tomorrow."

18               She continues:   "I already talked to Deko and Deko told

19       me that I can leave the money in Titit's hands.              Titit will do

20       it tomorrow morning and will send me the picture to him and he

21       will send it to you."

22       Q.      Page 29.

23       A.      So this is WhatsApp exchanges from October 6, 2021,

24       between Eliande Tunis and Mr. Germine.            Eliande Tunis sends:

25       "I talked to Patrick and he told me he took 500 from the money




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 1       to send to Walder's background because I've already paid him

 2       for the 12.     There's $2,800 total left.           The total is 6,500.

 3       And he asked me if I'm taking the other box of bullets for

 4       $1,100."

 5               There's a message from Mr. Germine that's not translated.

 6       And then Ms. Eliande Tunis responds:          "He took 2 boxes of 39

 7       by 7:62, 1 box of 5:56.      When I get there I'll take the one

 8       that he has in the small boxes."

 9       Q.      And what is seen on page 30 of this document?

10       A.      It's a blown-up photo which reads "Patrick 2,800, 1,700,

11       1,500," and then $500, and the total amount calculated there

12       is 6,500.

13       Q.      And who did Ms. Tunis send this to?

14       A.      Mr. Germine.

15       Q.      Let's move forward to October 10.        We're in Exhibit 500B.

16                 THE COURT:   Let's not.    It's 12:36.        Maybe we should

17       take our lunch break.

18                 MS. SEIFERT:    Sounds good, Your Honor.

19                 THE COURT:   All right.    So we'll resume at 1 -- well,

20       I'll decide when we resume after I ask this question:                   Will

21       this be the last witness by the government?

22                 MS. SEIFERT:    Yes, Your Honor.

23                 THE COURT:   And how much longer do you expect it will

24       take?    A guesstimate.

25                 MS. SEIFERT:    Maybe 30 to 40 minutes?          Might not even




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 1       be that long.

 2                THE COURT:    All right.

 3                MS. SEIFERT:     We're getting to the end of this

 4       PowerPoint.

 5                THE COURT:    So it appears that the government's case

 6       will conclude this afternoon.        And I would suggest that the

 7       defense should do some decisionmaking over lunch, talk to

 8       Mr. Germine, so that we can proceed in whatever the proper

 9       fashion is once the government completes its case.              All right?

10                MR. ORENBERG:     Excuse me, Your Honor.        I didn't hear

11       what time the Court said we should come back --

12                THE COURT:    I haven't decided when to come back.

13       I wanted to say that first and then hear if anyone has any

14       requests.

15                MR. ORENBERG:     Well, whatever the Court was thinking

16       about, I would ask for an additional 15, 20 minutes so we can,

17       as the Court alluded to, consider some decisionmaking.

18                THE COURT:    All right.    Well, we can resume at two

19       o'clock.

20                MR. ORENBERG:     That's fine.

21                THE COURT:    That should give you enough time.              And

22       we'll see everyone then.

23                MR. ORENBERG:     Thank you, Your Honor.

24                THE COURT:    All right.    Thank you.

25           (Lunch recess taken at 12:37 p.m.)
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                              * *   *   *   *   *

                                 CERTIFICATE

             I, BRYAN A. WAYNE, Official Court Reporter, certify

    that the foregoing pages are a correct transcript from the

    record of proceedings in the above-entitled matter.




                             /s/ Bryan A. Wayne
                             Bryan A. Wayne
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